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                             EXHIBIT H
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-2680-NYW-SKC


  ROCKY MOUNTAIN GUN OWNERS,
  NATIONAL ASSOCIATION FOR GUN RIGHTS,
  CHARLES BRADLEY WALKER,
  BRYAN LAFONTE,
  GORDON MADONNA,
  JAMES MICHAEL JONES, _and
  MARTIN CARTER KEHOE,
         Plaintiffs,.
  v.

  THE TOWN OF SUPERIOR,
  CITY OF LOUISVILLE, COLORADO,
  CITY OF BOULDER, COLORADO, and
  BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,

         Defendants.


                            Declaration of Christopher B. Colwell, M.D.


         I, Christopher B. Colwell, M.D., declare as follows:

         1.     lam over the age of 18 years of age and competent to testify to the matters stated
  below and do so based on my personal knowledge.
          2.    Attachment A is a true and accurate copy of my expert report in the above-
  captioned matter. It contains the opinions to which I would testify if called upon as a witness in
  the above-captioned matter, and I declare under penalty of perjury that it is true and correct to the
  best of my knowledge.
        I declare under penalty of perjury that the foregoing is true and correct to the best of my
  knowledge.
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

      Civil Action No. 22-cv-2680


      ROCKY MOUNTAIN GUN OWNERS,
      NATIONAL ASSOCIATION FOR GUN RIGHTS,
      CHARLES BRADLEY WALKER,
      BRYAN LAFONTE,
      CRAIG WRIGHT,
      GORDON MADONNA,
      JAMES MICHAEL JONES, and
      MARTIN CARTER KEHOE,

            Plaintiffs,

      v.

      THE TOWN OF SUPERIOR,
      CITY OF LOUISVILLE, COLORADO,
      CITY OF BOULDER, COLORADO, and
      BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


            Defendants.



               EXPERT REPORT OF CHRISTOPHER B. COLWELL, M.D.
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                                         INTRODUCTION

           1.      I am the Chief of Emergency Medicine at Zuckerberg San Francisco General

   Hospital and Trauma Center and Professor and Vice Chair in the Department of Emergency

   Medicine at the University of California at San Francisco School of Medicine. This report is

   based on my personal knowledge and experience, and if called as a witness, I could and would

   testify competently to the truth of the matters discussed in this report.

           2.      I have been retained by the Town of Superior, the City of Boulder, the City of

   Louisville, and the Board of County Commissioners of Boulder County to render expert opinions

   in this case. I am being compensated at a rate of $250 per hour.

                                 BACKGROUND AND QUALIFICATIONS

           3.      I am currently the Chief of Emergency Medicine at Zuckerberg San Francisco

   General Hospital and Trauma Center and Professor and Vice Chair in the Department of

   Emergency Medicine at the University of California at San Francisco School of Medicine. I was

   previously the Chief of Emergency Medicine at Denver Health Medical Center and Professor

   and Executive Vice Chair in the Department of Emergency Medicine at the University of

   Colorado School of Medicine. I received my residency training in Emergency Medicine at

   Denver General Hospital in the Denver Affiliated Residency in Emergency Medicine and am

   board certified by the American Board of Emergency Medicine (ABEM) in both Emergency

   Medicine and Emergency Medical Service (EMS). I am currently licensed to practice medicine

   in the state of California.

           4.      I have over 30 years of experience treating gunshot wound victims in the

   Emergency Department at large urban level I trauma centers and in that time have treated over a




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   thousand patients with gunshot wounds. I am qualified to offer opinions as to the physiologic

   trauma caused by gunshot wounds and other penetrating injuries.

          5.      I have provided expert opinions in the following cases involving challenges to

   laws similar to the ordinances in this case: NAGR v. Lopez, No. 1:22-cv-00404-DKW-RT (D.

   Haw.), Viramontes v. Cook County, No. 1:21-cv-04595 (N.D. Ill.), Worman v. Healey, No. 1:17-

   cv-10107-WGY (D. Mass.), Rupp v. Becerra, No. 8:17-cv-00746-JLS-JDE (C.D. Cal.), Miller v.

   Bonta, No. 3:19-cv-01537-BEN-JLB (S.D. Cal.), and Duncan v. Bonta, No. 3:17-cv-1017-BEN-

   JLB (S.D. Cal.). I have testified as an expert at trial or by deposition in two cases in the last four

   years, Perryman v. State, No. 20-2-07419-5 SEA (Wash. Super. Ct.), and City and County of San

   Francisco v. Purdue Pharma L.P., No. 3:18-cv-7591-CRB-JSC (N.D. Cal.).

          6.      A list of my work history, educational background, and publications, including all

   publications in the last ten years, is included in my curriculum vitae, which is attached to this

   report as Exhibit A.

          7.      I have reviewed the Complaint filed in this case, Rocky Mountain Gun Owners v.

   Superior, 22-cv-2680 (D. Colo.), and the ordinances at issue (Superior, Colo. Code Ch. 10, art

   IX; Boulder, Colo. Rev. Code Title 5, Ch. 8; Boulder County, Colo. Ord. No. 2022-5; Louisville,

   Colo. Code Tit. 9, Ch. VIII).

          8.      I hold my opinions to a reasonable degree of medical certainty. My opinions are

   based on my experience treating victims of gunshot wounds, including from assault weapons,

   both in the emergency department and in some instances at the scene of injuries, as well as my

   education, research, and training.




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                                               OPINIONS

           9.        I have experienced first-hand the extensive damage caused by assault weapons,

   and I have witnessed both victims and on occasion even shooters experience the horror of what

   these weapons can do.

           10.       I have treated victims of gunshot wounds in two notorious mass shootings in

   Colorado: (1) the Columbine High School shooting on April 20, 1999, in which a TEC-DC9

   pistol and a Hi-Point 995 rifle were used, and (2) as an Emergency Department physician

   treating victims of the Aurora Theater shooting on July 20, 2012, in which an AR-15 rifle was

   used.

           11.       My experiences with the Columbine and Aurora Theater shootings were certainly

   two very vivid examples of how destructive these weapons can be. In assessing both those

   injured and killed at Columbine and some of those injured in the Aurora shooting, it was both the

   number of wounds and the extent of each one and the damage they caused that not only shocked

   me but also left impressions I will never forget. So many that were so clearly trying only to get

   to safety that were taken down as they fled or hid. So many whose lives would obviously be

   forever impacted by their wounds. From my perspective, there is an impact from these weapons

   that I do not see with other injuries and that perspective continues now at busy urban trauma

   centers. We do not typically show the injuries victims of assault weapons have suffered to the

   public for very good reasons. Having seen them far too often, there is no doubt in my mind that

   doing so would have a significant impact on the public perception of these weapons. The horror

   of these injuries are still as vivid as if I had seen them yesterday, in some cases now more than

   20 years later.




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          12.     I have treated many other patients that have been shot with assault weapons, as

   well as non-assault weapons. While significant injury can certainly result from non-assault

   weapons, my experience has been that individuals who have been shot by assault weapons tend

   to have more wounds and injuries that are far more extensive. These weapons cause

   significantly more damage and have resulted in higher morbidity and mortality than other

   weapons, such as conventional handguns.

          13.     I have seen the devastating impact that assault weapon shootings have on the lives

   of my patients and their families. I have spoken extensively around the country on the

   experience of caring for victims of mass shootings and have testified as the treating physician on

   multiple occasions to describe the extent of injuries due to gunshot wounds from all weapons,

   including assault weapons, in criminal trials. I was subpoenaed in those cases by the prosecuting

   district attorney and was not compensated for that testimony.

          14.     I have extensive experience with the different wounds caused by assault and non-

   assault weapons and the consistently more serious nature of the injuries from assault weapons.

   Gunshot wounds from assault weapons, such as AR-15 platform rifles, tend to be higher in

   complexity with higher complication rates than such injuries from non-assault weapons,

   increasing the likelihood of morbidity in patients that present with injuries from assault weapons.

   In my experience, assault weapons tend to cause far greater damage to muscles, bones, soft

   tissue, and vital organs. The velocity involved when these weapons are used is obvious when

   you see these injuries. Bones are more likely shattered and soft tissue more likely destroyed.

          15.     There is no doubt in my mind that victims of assault weapons are at far greater

   risk of both immediate and long-term complications. These complications include higher

   amputation rates and higher infection rates. A vivid example was a victim of a shooting from a



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   Glock handgun who presented to our Emergency Department with an elbow wound. We were

   able to treat this wound and release the patient from the Emergency Department. Just three

   months earlier, I had seen a patient shot in the exact same spot with an AK-47 and the arm

   needed to be amputated just below the shoulder. This is just one example of the additional

   damage and destruction assault weapons cause, which I have witnessed in the course of treating

   trauma patients. In each of these examples, law enforcement informed me of the weapon used in

   the shooting.

          16.      One weekend that I worked involved eight shooting victims, three of whom were

   the victims of a single shooter with an assault weapon. Those three victims all required

   extensive treatment in the operating theater while none of the five others did.

          17.      Other examples where I have treated injuries caused by assault weapons include

   the San Francisco UPS shooting on June 14, 2017, where a disgruntled employee shot five

   people, three fatally. The shooter had a Smith & Wesson Model 459 pistol with him, but chose

   to use a semi-automatic MAC-10 instead (an assault pistol specifically named in the 1994 federal

   law prohibiting assault weapons). I have treated the victims of a number of disgruntled

   employee shootings in my career that did not involve assault weapons, but none with as many

   victims (five), or fatalities (three). The wounds involved in the shootings involving assault

   weapons were more extensive and involved more damage, including several where there was

   nothing that could be repaired.

          18.      Assault weapons, especially when equipped with large capacity magazines that

   can hold 30, 50, or even 100 rounds of ammunition, can fire more shots without reloading,

   causing more injuries per victim (and thus more complications), and many of the most




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   devastating injuries I have managed in my over 30 years of experience treating gunshot wound

   victims were caused by assault weapons.

          19.     The increased likelihood of multiple victims with serious injuries in events that

   involve assault weapons increases the impact of healthcare delivery to both the victims of the

   event and others that might also require medical attention when these events occur. Many of the

   events I have been involved with that have involved assault weapons and multiple victims –

   including Columbine, the Aurora theater shooting, the UPS shooting, and others – have required

   implementation of disaster plans that focus resources on doing the greatest good for the greater

   number of victims and potentially limit resources each patient will receive. While we are sorting

   through multiple significant wounds, our attention is taken away from others who may also need

   it. Assault weapons are far more likely to require us to go into disaster mode and limit what we

   can do for others.

          20.     The fact that multiple victims are often involved adds to the complexity of

   managing these cases, as triage of multiple potentially serious injuries is often required, which

   can lead to delays in transport and treatment while resources are being used for multiple victims.

   When there are more victims with potentially serious wounds, and/or more wounds that are

   potentially serious (which there are when assault weapons are involved), pre-hospital and

   hospital providers are often placed in situations where we have to prioritize limited resources

   such as transport vehicles, imaging including CT scans and operating rooms. These decisions

   mean limiting availability to some victims that may need them. These complex and difficult

   triage decisions are rarely, if ever, necessary when non-assault weapons are involved.

          21.     Not one of the injuries from assault weapons that I have managed has come in the

   setting of self-defense. Non-assault weapons can result in both serious and non-serious injuries;



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  but nearly every injury I have seen from assault weapons has been serious. Many of the most

  devastating injuries I have managed in my 30 years of treating gunshot wound victims have

  involved assault weapons. It is my opinion that while all weapons pose risk, assault weapons –

  especially when equipped with large capacity magazines – pose a far greater risk to the public

  from a medical care standpoint than non-assault firearms.




         DATED: San Francisco, California, May 5th , 2023.




                                               CHRISTOPHER B. COLWELL, M.D.




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                            EXHIBIT A
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                                       Curriculum Vitae
                         Christopher Beall Colwell, M.D


     Current Position:

     Chief, Department of Emergency Medicine
     Zuckerberg San Francisco General Hospital and Trauma Center
     Professor and Vice Chair, Department of Emergency Medicine
     UCSF School of Medicine

     Work Address:

     Zuckerberg San Francisco Hospital and Trauma Center
     Department of Emergency Medicine
     1001 Potrero Ave. #6A02
     San Francisco, CA 94110

     Christopher.Colwell@ucsf.edu
     Phone: (415) 206-2518
     Fax: (415) 206-5818

     Board Certification:

        1) American Board of Emergency Medicine 1997
                 Re-certification 2007, 2017
        2) American Board of Emergency Medicine – Emergency Medical Services 2015

     NPI number – 1629092788
     California license – G142756 (active)
     Colorado license – 34341 (not active)
     Michigan license – 4301059401 (not active)


     Education:


     Undergraduate:         University of Michigan
                            Ann Arbor, Michigan
                            Bachelor of Science Degree, 1988

     Medical School:        Dartmouth Medical School
                            Hanover, New Hampshire
                            Medical Doctorate, 1992
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     Internship:        St. Joseph Mercy Hospital/University of Michigan
                        Ann Arbor, Michigan
                        Transitional Medicine, 1993

     Residency:         Denver Affiliated Residency in Emergency Medicine
                        Denver, Colorado, 1993-1996
                        Chief Resident 1995-1996




     Academic appointments:


           1. Professor and Vice Chair
              Department of Emergency Medicine
              University of California at San Francisco School of Medicine
              2016 - Present

           2. Professor of Emergency Medicine
              Department of Emergency Medicine
              University of Colorado School of Medicine
              2012-2016

           3. Executive Vice Chair, Department of Emergency Medicine, 2010 - 2016
              University of Colorado School of Medicine
              2010-2016

           4. Associate Professor of Emergency Medicine
              Department of Emergency Medicine
              University of Colorado School of Medicine
              2010-2012

           5. Associate Professor of Emergency Medicine
              Division of Emergency Medicine, Department of Surgery
              University of Colorado Health Sciences Center
              2004-2009

           6. Assistant Professor of Emergency Medicine
              Division of Emergency Medicine, Department of Surgery
              University of Colorado Health Sciences Center
              Denver, Colorado
              1998-2004

           7. Assistant Professor of Emergency Medicine
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               Department of Emergency Medicine, University of Michigan School of
               Medicine
               Ann Arbor, Michigan
               1996-1998


     Clinical appointments:


        1. Chief of Emergency Medicine, 2016-present
           Department of Emergency Medicine
           Zuckerberg San Francisco General Hospital and Trauma Center
           San Francisco, California

        2. Director of Emergency Medicine, 2010 – 2016
           Interim Director of the Department of Emergency Medicine, 2009-2010
           Associate Director, 2000-2009
           Attending Physician, 1998-2016
           Department of Emergency Medicine
           Denver Health
           Denver, Colorado

        3. Program Director, EMS Fellowship
           2002-2010

        4. Medical Director, Denver Paramedic Division
           2000-2010

        5. Medical Director, Denver Fire Department
           2000-2010

        6. Associate Director, Denver Paramedic Division
           1998-2000

        7. Senior Associate Director, Denver Health Residency in Emergency Medicine
           2009 - 2016

        8. Attending Physician, 1996-1998
           St. Joseph Mercy Hospital/University of Michigan
           Ann Arbor, Michigan


     Fellow Appointments:

           1. Fellow - American College of Emergency Physicians (FACEP)
                  a. 1999-present
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           2. Fellow – Academy of Emergency Medical Services (FAEMS)
                  a. 2021-present




     Honors and Awards:      2021-2022 ACEP Outstanding Speaker of the Year
                             National award designed to recognize a single faculty
                             member who has consistently demonstrated teaching
                             excellence through performance, versatility, and
                             dependability during ACEP educations meetings
                             throughout the year

                             2022 NAEMSP President’s Award – For tireless
                             leadership and inspiring scholarship as an editor of the
                             2022 NAEMSP Compendium of Airway Management
                             Position Statements and Resource Documents

                             2020-2021 Outstanding Resident Teaching Award
                             Department of Obstetrics, Gynecology, and
                             Reproductive Services, University of California, San
                             Francisco

                             2020 ACEP National Emergency Medicine Faculty
                             Teaching Award

                             2017-2018 Quarterly Resident Bedside Teaching Award
                             UCSF Department of Emergency Medicine

                             Outstanding Contributions - Best Authors in Adult
                             Emergency Medicine
                             UpToDate – Wolters Kluwer
                             March, 2017

                             2016 Career Service Award
                             Denver Health and Hospital Association
                             Medical Staff Awards
                             September 21st, 2016

                             The Peter Rosen Leadership Award
                             Presented by the 2016 Emergency Medicine Residency
                             at Denver Health for Outstanding Departmental
                             Leadership
                             June 27th, 2016
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                            2016 Financial Vitality Pillar Award
                            For largest increase in charges and revenue while
                            maintaining same cost
                            June 9th, 2016

                            Best Attending Lecture of the Year
                            In recognition of outstanding educational performance
                            Denver Health Paramedic School Class of 2016

                            Meritorious Service Award
                            Presented by the Colorado Chapter of the American
                            College of Emergency Physicians for Achievements that
                            have Enhanced Colorado’s Health Care System and the
                            Profession of Emergency Medicine in Colorado.
                            January 20th, 2015


                            2015 Patient Safety and Quality Pillar Award
                            For meticulous, high-quality, and thoughtful design and
                            implementation of Denver Health’s Ebola Preparedness
                            Plan
                            June, 2015

                            The Corey M. Slovis Award for Excellence in
                            Education. U.S. Metropolitan Municipalities EMS
                            Medical Directors Consortium, February, 2015


                            Positively Collaborative Award for outstanding
                            collaboration towards the improvement of Colorado’s
                            trauma system. Trauma Program, Colorado
                            Department of Public Health and Environment,
                            January, 2012


                            The Vincent J. Markovchick Program Director’s
                            Award 2011

                            Distinctive Service Award – Denver Paramedic Division
                            2010

                            Chief Executive Officer Special Commendation Award
                            for expert medical leadership of Denver’s 911 system,
                            2009
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                                Mayor’s Award of Appreciation for assistance and aid
                                to Hurricane Katrina evacuees. 2005

                                Ernest E. Moore Award for Outstanding Contributions
                                in Trauma Care, 2000

                                Outstanding Senior Resident, 1996

                                Chief Resident, Emergency Medicine Residency, 1995-
                                1996



     Membership in professional organizations:

        1. American College of Emergency Physicians (ACEP), 1994-present
              a. Fellow, 1999-present
              b. California ACEP, 2016-present
              c. Colorado ACEP, 1993-1996, 1998-2016
              d. Michigan ACEP, 1996-1998
        2. American Medical Association (AMA), 1993-2000, 2006-present
        3. National Association of EMS Physicians (NAEMSP), 2002-present
              a. FAEMS designation – 2021 to present
        4. Society for Academic Emergency Medicine (SAEM), 1995-2000, 2008-present
        5. Emergency Medicine Residents Association (EMRA), 1992-1997




     Major Committee, Teaching, and Service Responsibilities:

           1. Associate Editor, Trauma and EMS sections. EMRAP/CorePendium
              Emergency Medicine Textbook
           2. Chair, Chief of Surgery at ZSFG search committee
                 a. 2022
           3. Search committee member, Trauma Medical Director at ZSFG
                 a. 2023
           4. COVID Vaccine Speakers Group member – delivered talks addressing
              concerns and questions from vulnerable populations on the COVID-19
              vaccine across the country (virtually)
           5. UCSF Ad Hoc Committee for Faculty Misconduct Investigations, Standing
              Panel. 2019 – 2025
           6. Chair, Faculty Misconduct Investigation Committee
                 a. August, 2022 – February, 2023
           7. Admissions Interview Committee – UCSF School of Medicine, Office of
              Admissions, 2018 – present
           8. American Board of Emergency Medicine (ABEM) Oral Board Examiner
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                      •    October 8-11, 2016
                      •    October 14-17, 2017
                      •    October 13-16, 2018
                      •    October 5-8, 2019
                      •    December 15-18, 2020
                      •    April 21-24, 2021
                      •    December 8-11, 2021
                      •    May 18-21, 2022
                      •    December 7-9, 2022
           9. San Francisco Pride Parade - Medical Coverage (with San Francisco Fire
               Department). 2019, 2022
           10. Medical Executive Committee, Zuckerberg San Francisco General Hospital
               and Trauma Center. 2016-present
           11. ZSFG CPG Board of Directors. 2016-present
           12. UCSF Department of Emergency Medicine Incentive Review Committee.
               2016 – present
           13. Zuckerberg San Francisco General Hospital and Trauma Center Trauma Peer
               Review Committee. 2016-present
           14. Board of Directors, American College of Emergency Physicians – Colorado
               Chapter, 2007-2011
           15. Conference Director, Annual Rocky Mountain Conference in Trauma and
               Emergency Medicine, 2003 – 2016
           16. American Board of Emergency Medicine (ABEM) Oral Board Examiner,
               2011 - present
           17. Course Director, Introduction to Traumatic Emergencies, (SURG 6623)
               University of Colorado School of Medicine, 1999
                   a. A course for second year medical students that introduces the student
                       to selected traumatic emergencies and their management
           18. Course Director, Prehospital Medicine (SURG 6626), University of Colorado
               at Denver School of Medicine, 2005-2016
                   a. A course for first and second year medical students that introduces
                       them to prehospital medicine and includes clinical time riding on an
                       ambulance
           19. Course Director, Flight Medicine (SURG 6628), University of Colorado at
               Denver School of Medicine, 2009-2016
                   a. A course for second year medical students (SURG 6626 is a pre-
                       requisite) that introduces the student to flight medicine and includes
                       clinical time riding in a helicopter as well as fixed wing airplane
                       transport
           20. Instructor, Introduction to Traumatic Emergencies, (SURG 6623) University
               of Colorado School of Medicine, 1999-2016
           21. Lecturer, Injury Epidemiology and Control (PRMD 6637), University of
               Colorado School of Medicine, 2003
           22. Instructor, Emergency Medicine at Denver Health Medical Center (SURG
               8005), University of Colorado School of Medicine, 1998-2016
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           23. Instructor, Integrated Clinicians Course (ICC) 8005: Preparing for Internship:
               Reading and Understanding EKGs
           24. Instructor, Integrated Clinicians Course (ICC) IDPT 7003: Management of
               Trauma, University of Colorado School of Medicine, 2011
           25. Instructor, Integrated Clinicians Course (ICC) IDPT 7004: Management of
               Trauma, University of Colorado School of Medicine, 2010. Lecturer and
               small group leader
           26. Instructor, Integrated Clinicians Course (ICC) IDPT 7004: Management of
               Trauma, University of Colorado School of Medicine, 2009. Lecturer and
               small group leader
           27. Member, Medical Staff Executive Committee, 2009-present
           28. Member, Denver Health Executive Committee for Patient Safety and Quality,
               2006-2016
           29. Council Member, Colorado’s Mile High Regional Emergency and Trauma
               Advisory Council (RETAC), Denver County appointed representative, 2000-
               2016
           30. Committee chair, Destination and Diversion committee, Mile High RETAC
               2002-2016
           31. Member, State EMS Formulary Task Force, 2006 – 2009
           32. Member, Pediatric Trauma Committee, 2006-present
           33. Member, Rocky Mountain Center for Medical Response (RMCMR), 2002-
               2016
           34. Member, Colorado State Advisory Council on Emergency Medical Services,
               1998-2000
           35. Ute Mountain Ute EMS Program medical director, 1994-1996
           36. Steering Committee member, Denver Health Residency in Emergency
               Medicine, 1998-2016
           37. Denver Health Residency in Emergency Medicine Compliance Committee,
               2006-2014
           38. Pharmacy and Therapeutics Committee member, Denver Health Medical
               Center, 1998-2006
           39. EMS Education committee member, Denver Health Medical Center, 1998-
               2016
           40. Safety Committee member, Denver Health Medical Center, 1998-2001
           41. Residency Advisory Committee, Denver Health Medical Center Residency in
               Emergency Medicine, 1998-2016
           42. Moderator, Case Presentations, Rocky Mountain Critical Care Transport
               Conference, May, 2003
           43. Instructor, Difficult Airway Lab, Rocky Mountain Critical Care Transport
               Conference, May, 2003
           44. Trauma Center Site Surveyor, State of Florida Department of Health and
               Rehabilitative Services, Office of Emergency Medical Services, 2003-present
                   a. Trauma site review – 10/23 – 10/25, 2019
           45. Member, Denver EMS Council, 1998-2016
           46. Member, Denver Metro Physician Advisors, 1999-2016
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            47. Medical Expert and Faculty, Boulder Trial Academy, International
                Association of Defense Counsel, 1998-2002
            48. Member, Medical Advisory Group (MAG), to the Colorado State EMS
                Director, 2003-2008
            49. Transfusion Committee member, St. Joseph Mercy Hospital, Ann Arbor,
                Michigan. 1996-1998




     Editorial Positions

            1. Section Editor, Trauma, UpToDate, 2009 - present
            2. Section Editor, Abstracts
               The Journal of Emergency Medicine, 1999-2002
            3. Review Editor, The Journal of Emergency Medicine, 1999-2008
            4. Review Editor, Western Journal of Emergency Medicine, 2008 – 2016
            5. Manuscript reviewer, JAMA Network Open, 2019-present
            6. Manuscript reviewer, Academic Emergency Medicine, 2003 – present
            7. Manuscript reviewer, Critical Care, 2008-present
            8. Manuscript reviewer, Patient Safety in Surgery, 2009-present
            9. Guest Editor, EM International, Prehospital Care


     Publications:

     Peer Reviewed Journal Articles

            1. Shapiro M, Dechert, Colwell C, Bartlett R, Rodriguez: Geriatric Trauma:
               Aggressive Intensive Care Management is Justified. American Surgeon
               1994;60(9):695-8
            2. Colwell C, Pons PT, Blanchet J, Mangino C: Claims Against a Paramedic
               Ambulance Service: A Ten Year Experience. J Emerg Med 1999, 17(6):999-
               1002
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            92. Murphy P, Colwell C, Pineda G, Wortham C, Nelson S. EMS Telemedicine:
                Watch the Details. Healthcare Business Today, February 2nd, 2022.
            93. Colwell CB. My experience treating victims of mass shootings is no longer
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            94. Colwell, C. Columbine should have been an isolated event. It was just a
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            95. Colwell, C. Abdominal Aortic Aneurysm In: Walls et al (eds): Rosen’s
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            96. Colwell, C. Initial management of moderate to severe hemorrhage in the
                adult trauma patient. In UpToDate. Post TW (Ed), UpToDate, Waltham, MA.
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     Letters to the Editor

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              Internet Journal of Rescue and Disaster Medicine 2006; Vol. 5, No. 2



     Abstracts Presented

           1. Colwell C, Wolfe R, Moore E, Cairns C: Differences in Hemodynamic Data
              Between Geriatric and Younger Adult Trauma Patients. Poster
              Presentation; 21st Annual Rocky Mountain Conference on Emergency
              Medicine and Nursing, Jan. 30th, 1995
           2. Colwell C, Wolfe R, Moore E, Cairns C: Differences in Hemodynamic Data
              Between Geriatric and Younger Adult Trauma Patients. Presented as an
              oral presentation at the 25th Annual Meeting of the Society for Academic
              Emergency Medicine, Denver, Colorado, May, 1995.
           3. Branney S, Colwell C, Aschenbrenner J, Pons P: Safety of Droperidol for
              Sedating Out-of-control ED Patients. Presented at the Annual Meeting of
              the Society for Academic Emergency Medicine, Denver, Colorado, 1996.
              (Acad Emerg Med 1996; 3:527)
           4. Barton E, Ramos J, Colwell C: Intranasal Administration of Naloxone by
              Paramedics: Could this be a better practice? Presented at American
              College of Emergency Physicians (ACEP) Research Forum, October 2001.
              (Ann Emerg Med 2001; 38(4):Supplement p. S18)
           5. Barton E, Colwell C, Ramos J: Intrnasal Administration of Naloxone by
              Paramedics: Could this be a better practice? Presented at The First
              Mediterranean Emergency Medicine Congress, Stressa Convention Center,
              Stressa, Italy, September 2001
           6. Levine S, Colwell C, Pons P, Gravitz C, Haukoos J: How well do
              paramedics predict admission to the hospital? Presented at AAEM
              Resident Research Competition, San Diego, California, February 2005
           7. Colwell C, Mehler P, Sabel A, Harper J, Johnson L, Cassell L: Determining
              the Quality of Comprehensive Care for Non-Traumatic Chest Pain
              through a Composite Measure. Presented at SAEM Western Regional
              Research Forum, Portland, Oregon, March, 2007.
           8. Colwell C, Mehler P, Sabel A, Harper J, Johnson L, Cassell L. Analysis of
              Ambulance Response for Patients with Medical Chest Pain Based on the
              Severity of Potential Cardiac Symptoms. Presented at SAEM Western
              Regional Research Forum, Portland, Oregon, March 2007.
           9. Haukoos JA, Witt G, Colwell C. The Epidemiology of Out-of-Hospital
              Cardiac Arrest in Denver, Colorado. Results from Phase I of the Denver
              Cardiac Arrest Registry. Presented at SAEM Annual Meeting, May 30th,
              2008, Washington D.C.
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           10. Kashuk JL, Moore EE, Barnett C, Berlew CC, Colwell CB, Brody A, Johnson
               J, Biffl W, Sabel AL. Implementation of an in-hospital mass casualty
               incident (MCI) plan based upon the Israeli model: The challenges of
               shifting to the battlefield mentality in the civilian setting. International
               Preparedness & Response to Emergencies & Disasters Conference. Tel –Aviv,
               Israel. January 11th, 2010.
           11. Moore EE, Kashuk JL, Colwell CB, Barnett C, Burlew CC, Biffl WL,
               Johnson JL, Brody A, Sabel A. Live victim volunteers (LVV) enhance
               performance improvement for in-hospital mass casualty incident (MCI)
               drills: listen to the patient! International Preparedness & Response to
               Emergencies and Disasters (IPRED). Tel-Aviv, Israel. January 12th, 2010.
           12. Barnett C, Kashuk J, Moore EE, Colwell CB, Johnson JL, Biffl W, Burlew
               CC, Brody A, Sabel A. Notification and Communication: Critical initial
               steps in mass casualty incident drills. International Preparedness & Respons
               to Emergencies and Disasters (IPRED). January 12th, 2010. Tel Aviv, Israel
           13. Colwell CB, Moore EE, Kashuk J, Robinson J, Bookman S. Lessons learned
               from the 2008 Democratic National Convention. International Preparedness
               & Response to Emergencies and Disasters (IPRED). Tel-Aviv, Israel. January
               12th, 2010.
           14. Soriya G, McVaney K, Liao M, Haukoos J, Byyny R, Colwell C. Safety of
               pre-hospital single-dose fentanyl in adult trauma patients. 13th Annual
               Western Regional Society for Academic Emergency Medicine Meeting,
               Sonoma, CA, 2010 (Oral).
           15. Soriya G, McVaney K, Liao M, Haukoos J, Byyny R, Colwell C. Safety of
               pre-hospital single-dose fentanyl in adult trauma patients. Society for
               Academic Emergency Medicine Annual Meeting, Scottsdale, Phoenix, AZ,
               2010 (Poster).
           16. Sasson C, Colwell C, McNally B, Haukoos J. “Associations Between
               Individual-level and Census Tract-level Characteristics and Performance
               of Bystander CPR Among Patients Who Experience Out-of-Hospital
               Cardiac Arrest.” Oral Presentation American Heart Association November
               2010.
           17. Sasson C, Colwell C, McNally B, Dunford J, Haukoos J. “Using the Cardiac
               Arrest Registry to Enhance Survival to Examine Regional Variation in the
               Utilization of Automated External Defibrillators.” Poster Presentation
               Resuscitation Science Symposium American Heart Association November
               2010.
           18. Macht M, Colwell CB, Mull A, Johnston J B, Shupp A, Marquez KD, Gaither
               J, Haukoos J. “Droperidol versus haloperidol for prehospital sedation of
               acutely agitated patients.” Poster presentation at NAEMSP 2012 Annual
               Meeting, January 2012
           19. Nassel A, Haukoos J, McNally B, Colwell CB, Severyn F, Sasson C. “Using
               Geographic Information Systems and Cluster Analysis to identify
               Neighborhoods with High Out of Hospital Cardiac Arrest Incidence and Low
               Bystander Cardiopulmonary Resuscitation Prevalence in Denver, Colorado.”
               Oral Presentation, Society of Academic Emergency Medicine Annual
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               Meeting, May 2012, Chicago, Illinois. Acad Emerg Med 2012 19(4) Suppl.1,
               #513:S271-272
           20. Vogel JA, Arens A, Johnson C, Ruygrok M, Smalley C, Byyny R, Colwell
               CB, Haukoos J. “Prehosptial and Emergency Department Intubation is
               Associated with Increased Mortality in Patients with Moderate to Severe
               Traumatic Brain Injury”. Oral Presentation, Society of Academic Emergency
               Medicine Annual Meeting, May 2012, Chicago, Illinois. Acad Emerg Med
               2012 19(4) Suppl. 1, #517:S273-S274
           21. Vogel JA, Sasson C, Hopkins E, Colwell CB, Haukoos J. “Systems-Wide
               Cardiac Arrest Interventions Improve Neurologic Survival after Out-of-
               Hosptial Cardiac Arrest”. Moderated Poster Presentation, Society of
               Academic Emergency Medicine Annual Meeting, May 2012, Chicago,
               Illinois. Acad Emerg Med 2012 19(4) Suppl. 1, #615:S324
           22. Muramoto S, Colwell C, Mehler P, Bakes K. “Cost analysis of a hospital-
               based violence intervention program: At-risk intervention and mentoring
               program (AIM).” Poster presentation at 25th Annual Interprofessional
               Research and EBP Symposium, March 2014, Denver, CO.
           23. Huang D, Niedzwiecki M, Mercer M, Colwell CB, Mann C, Hsia R. “Poor
               Neighborhoods Have Slower Response and Transport Times”. Oral
               Presentation, National Association of EMS Physicians (NAEMSP) 2017
               Annual Meeting, New Orleans, LA, January 26th, 2017.
           24. Kanzaria HK, Mercer MP, To J, Costa B, Luna A, Bilinski J, Staconis D, Pitts
               M, Dentoni T, Williams T, Singh MK, Colwell CB, Marks JD. “Using Lean
               Methodology to Create a Care Pathway for Low Acuity Emergency
               Department Patients in a Safety-Net Hospital”. Poster presentation, Society
               for Academic Emergency Medicine (SAEM) 2017. Orlando, FL. May 17th,
               2017.
           25. Niedzwiecki M, Huang D, Mercer M, Colwell CB, Mann NC, Hsia RY. “Do
               Poor Neighborhoods Have Slower EMS Times? Oral presentation, Society for
               Academic Emergency Medicine (SAEM) 2017. Orlando, FL, May 18th, 2017.
           26. Matthay ZA, Kornblith AE, Matthay EC, Sedaghati M, Peterson S, Boeck M,
               Bongiovanni T, Campbell A, Chalwell L, Colwell C, Farrell F, Kim WC,
               Knudson MM, Mackersie R, Li L, Nunez-Garcia B, Langness S, Plevin R,
               Sammann A, Tesoriero R, Stein D, Kornblith LZ. “The DISTANCE Study:
               Determining the Impact of Social Distancing on Trauma Epidemiology
               During the COVID-19 Epidemic-An Interrupted Time-Series Analysis” Oral
               presentation, plenary session, UCSF Research Symposium (Virtual), October
               28th, 2020.
           27. Kim WC, Gelb A, Colwell C, Johnson L, Stein D. “Whole-Body Computed
               Tomography for Trauma Reduces Emergency Department Length of Stay”
               Poster presentation, Trauma Quality Improvement Program (TQIP) 2020
               Scientific Meeting and Training (Virtual), December 9th, 2020.
           28. Bains G, Breyre A, Seymour R, Brown J, Mercer M, Montoy JC, Colwell C.
               “Centralized Ambulance Destination Determination impact on Surge events
               and Level loading”. Lightning rounds presentation, Society for Academic
               Emergency Medicine (SAEM) Virtual Meeting - #SAEM21. May 12th, 2021
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            29. Berger D, Wong-Castillo J, Mercer M, Colwell C, Brown J. Alternative
                Destinations: Characterization of EMS Patients Transported to a Field Care
                Clinic During COVID-19. Poster presentation, NAEMSP Research Forum,
                January 12th, 2022, San Diego, California
            30. Curtis T, Boozapour O, Rebagliati D, Colwell C, Dailey M. Prehospital Chest
                Pain Management: Disparity Based on Homeless Status. Poster presentation,
                NAEMSP Research Forum, January 27th, 2023. Tampa, Florida

     Invited Lectures, Presentations, and Visiting Professorships:

            1. Hypertensive Emergencies
                Interdepartmental Grand Rounds, University of Michigan
                Ann Arbor, Michigan, May 1997
            2. Pediatric Meningitis
                Emergency Medicine Grand Rounds, University of Michigan
                Ann Arbor, Michigan, October, 1997
            3. Antibiotic Use in the Emergency Department
                Attending Lecture in Emergency Medicine
                Denver Health Medical Center, Denver, Colorado, October 1998
            4. The Myth of EMS Response Times
                26th Annual Rocky Mountain Trauma and Emergency Medicine Conference
                Breckenridge, Colorado, July 1999
            5. Geriatric Trauma
                26th Annual Rocky Mountain Trauma and Emergency Medicine Conference
                Breckenridge, Colorado, July 1999
            6. Mass Casualty and Disaster Management: The Columbine Shootings
                Multidisciplinary Trauma Conference, Denver Health Medical Center
                Denver, Colorado, September 1999
            7. Mass Casualty and Disaster Management: The Columbine Shootings
                Northeast EMS Conference
                Boston, Massachusetts, September 1999
            8. Mass Casualty and Disaster Management: The Columbine Shootings
                Keynote Address, Winnipeg EMS Conference
                Winnipeg, Canada, October 1999
            9. Mass Casualty and Disaster Management
                Grand Rounds
                Harvard Medical School and Harvard Affiliated Emergency Medicine
                Residency
                October 26th, 1999
                Boston, Massachusetts
            10. Mass Casualty and Disaster Management: The Columbine Shootings
                Pediatric Emergency Care Conference
                Grand Rapids, Michigan, March 2000
            11. Geriatric Trauma
                Trauma Care Appreciation Day
                Denver, Colorado, May 2000
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           12. Mass Casualty and Disaster Management: The Columbine Shootings
               Fifth International Conference on Pediatric Trauma
               Beaver Creek, Colorado, June 2000
           13. Complaints Against EMS
               27th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Steamboat, Colorado, July 2000
           14. Mass Casualty and Disaster Management: The Columbine Shootings
               Sixth Annual Trauma Symposium, Cleveland Clinic Health System
               Cleveland, Ohio, October 2000
           15. Mass Casualty and Disaster Management: The Columbine Shootings
               EMS TEST Conference
               Columbus, Georgia, October 2000
           16. Myocardial Infarction
               Colorado State EMS Conference 2000
               Breckenridge, Colorado, October 2000
           17. Hypothermia
               Colorado State EMS Conference 2000
               Breckenridge, Colorado, October 2000
           18. Complaints Against EMS
               Colorado State EMS Conference 2000
               Breckenridge, Colorado, October 2000
           19. Hypothermia
               Rocky Mountain Winter Trauma and Emergency Medicine Conference
               Copper Mountain, Colorado, January 2001
           20. Mechanism of Injury
               Grand Rounds, Longmont Community Hospital
               Longmont, Colorado, March 2001
           21. Stabilization of the Trauma Patient
               Trauma Care Appreciation Day, Denver Health Medical Center
               Denver, Colorado, April 2001
           22. Mass Casualty and Disaster Management: The Columbine Shootings
               El Paso EMS Conference
               El Paso, Texas, September 2001
           23. Mass Casualty and Disaster Management: The Columbine Shootings
               Memorial Medical Center Trauma Conference
               Johnstown, Pennsylvania, October 2001
           24. Mechanism of Injury
               Colorado State EMS Conference 2001
               Breckenridge, Colorado, October 2001
           25. Mass Casualty and Disaster Management: The Columbine Shootings
               Massachusetts EMS Conference
               Worcester, Massachusetts, December 2001
           26. Mass Casualty and Disaster Management: The Columbine Shootings
               Sierra-Cascade Trauma Society
               Crested Butte, CO, February, 2002
           27. Mass Casualty and Disaster Management: The Columbine Shootings
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               Emergency Medicine Grand Rounds, University of Massachusetts
               Worcester, Massachusetts, March 2002
           28. Mass Casualty and Disaster Management: The Columbine Shootings
               Multidisciplinary Trauma Conference, Denver Health Medical Center
               Denver, Colorado, March 2002
           29. Mass Casualty and Disaster Management: The Columbine Shootings
               Grand Rounds, Day Kimball Hospital
               Putnam, Connecticut, May 2002
           30. Mass Casualty and Disaster Management: The Columbine Shootings
               Grand Rounds, Legacy Emanuel Hospital & Health Center
               Portland, Oregon, June 2002
           31. Mass Casualty and Disaster Management: The Columbine Shootings
               Trauma Grand Rounds, Scripps Memorial Hospital
               La Jolla, California, September 2002
           32. High Altitude Illness
               Annual Meeting, Sierra Cascade Trauma Society
               Vail, Colorado, January 2003
           33. ALS in Trauma: Should We Even Bother?
               30th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado, August 2003
           34. Hypothermia
               30th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado, August 2003
           35. Research in EMS
               Grand Rounds, Denver Paramedic Division
               Denver, Colorado September, 2003
           36. High Altitude Illness
               Colorado State EMS Conference 2003
               Keystone, Colorado, October, 2003
           37. Controversies in EMS
               Colorado State EMS Conference 2003
               Keystone, Colorado, October 2003
           38. Hypothermia
               Sierra Cascade Trauma Society, 2004
               Aspen, Colorado, February 9, 2004
           39. Current Research in Prehospital Care
               Rocky Mountain Critical Care Transport Conference
               Denver, Colorado, May 6th, 2004
           40. Blood Substitutes in the Field
               Clinical Conference on Pre-Hospital Emergency Care, 2004
               Orlando, Florida, July 10th, 2004
           41. Management of Potential C-spine Injuries: Clearance and Beyond.
               31st Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Copper Mtn, Colorado. July 18th, 2004
           41. Mass Casualty and Disaster Management: The Columbine Shootings.
               Grand Rounds, North Colorado Medical Center
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               Greeley, Colorado. September 14, 2004
           42. Research in EMS and Trauma
               12th Annual EMS and Trauma Grand Rounds Conference
               Aurora, Colorado. September 15, 2004
           43. Blood Substitutes in the Field: The Prehospital Trials
               2004 Colorado State EMS Conference
               Keystone, Colorado. November 5th, 2004
           44. Cadaver Anatomy Lab: Dissection and Procedure Review on a Human
               Cadaver. Preconference workshop, 2004 Colorado State EMS Conference
               Keystone, Colorado. November 5th, 2004
           45. Prehospital Management of Trauma
               32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 14th, 2005
           46. Difficult Airway Lecture/Lab
               32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 15th, 2005
           47. Bleeding Disorders
               32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 15th, 2005
           48. Travel-Related Infectious Disease
               ACEP Scientific Assembly 2005
               September 28th, Washington D.C.
           49. The Hot Joint
               ACEP Scientific Assembly 2005
               September 29th, Washington D.C.
           50. Mass Casualty and Disaster Management
               Trauma and Critical Care Conference
               San Juan Regional Medical Center, Farmington, New Mexico
               February 18th, 2006
           51. Dialysis Related Emergencies
               33rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 14th, 2006
           52. Show Me Where it Hurts: Pain Management in the Field
               33rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 15th, 2006
           53. Environmental Emergencies
               2006 Rocky Mountain Rural Trauma Symposium
               September 14, 2006. Billings, Montana.
           54. Drugs of Abuse
               2006 Rocky Mountain Rural Trauma Symposium
               September 15, 2006. Billings, Montana.
           55. Cadaver Anatomy Lab: Dissection and Procedure Review on a Human
               Cadaver. Preconference workshop, 2006 Colorado State EMS Conference
               Keystone, Colorado.
           56. Dialysis-Related Emergencies
               2006 Colorado State EMS Conference
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               November 3rd, 2006, Keystone, Colorado
           57. High-Altitude Illness
               2006 Colorado State EMS Conference
               November 3rd, 2006. Keystone, Colorado
           58. Drugs of Abuse
               34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 20th, 2007
           59. Environmental Emergencies
               34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 22th, 2007
           60. Ultrasound Use in the Acutely Traumatized Patient
               Instructor, Ultrasound Workshop
               34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 22th, 2007
           61. Jigawatts: Back to the Future of Electrical Injuries
               American College of Emergency Physicians - Scientific Assembly,
               October 8-11, 2007. Seattle, Washington
           62. What’s Hot, What’s Not: Hypo to Hyperthermia, and All Things in Between
               American College of Emergency Physicians - Scientific Assembly,
               October 8-11, 2007. Seattle, Washington
           63. Environmental Emergencies
               Colorado State EMS Conference, November 8th-11th, 2007
               Keystone, Colorado
           64. Cadaver Anatomy Lab: Dissection and Procedure Review.
               Colorado State EMS Conference 2007 – Pre-conference Workshop
               Keystone, Colorado
           65. Drugs of Abuse
               Colorado Society of Osteopathic Medicine: The Medical “Home
               Improvements” Course. February 24th, 2008
               Keystone, Colorado
           66. Initial Evaluation of the Trauma Patient
               Colorado Society of Osteopathic Medicine: The Medical “Home
               Improvements” Course. February 24th, 2008
               Keystone, Colorado
           67. Geriatric Trauma
               35th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 25th, 2008
               Breckenridge, CO
           68. What’s Hot, What’s Not: Hypo to Hyperthemia and All Things in Between
               ACEP Scientific Assembly 2008, October 28th
               Chicago, Il
           69. Triage Out Debate: Efficient or Unethical?
               ACEP Scientific Assembly 2008, October 28th
               Chicago, Il
           70. Update in EMS Literature: What’s Hot and What’s Not
               ACEP Scientific Assembly 2008, October 29th
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               Chicago, Il
           71. Cadaver Disection Lab
               2008 Colorado State EMS Conference, November 6th
               Breckenridge, CO
           72. Geriatric Trauma
               2008 Colorado State EMS Conference, November 7th
               Breckenridge, CO
           73. Lessons Learned from the DNC
               Colorado Front Range MMRS Hospital Response to a Mass Casualty
               Incident, December 8th, 2008
               Denver, CO
           74. Lessons Learned from the DNC
               The EMS State of the Sciences Conference: A Gathering of Eagles 2009
               February 20th, 2009
               Dallas, TX
           75. Nightmare EMS Communications
               The EMS State of the Sciences Conference: A Gathering of Eagles 2009
               February 21st, 2009
               Dallas, TX
           76. Mass Casualty and Disaster Management
               Trauma Perspectives 2009 (4/10/09)
               Durango, CO
           77. Airway Management and Pitfalls
               Trauma Perspectives 2009 (4/10/09)
               Durango, CO
           78. Trauma Management
               Integrated Clinicians Course (ICC) 7004
               University of Colorado at Denver School of Medicine
               May 5th, 2009
           79. EMS Update, 2009
               Grand Rounds, Beth Israel/Deaconess Department of Emergency Medicine
               May 6th, 2009
           80. EMS Update – Panel Discussion
               36th Annual Trauma and Emergency Medicine Conference
               June 18th 2009, Breckenridge, CO
           81. Trauma in Pregnancy
               36th Annual Trauma and Emergency Medicine Conference
               June 19th 2009, Breckenridge, CO
           82. Cadaver Lab: Anatomical Dissection
               2009 Colorado State EMS Conference
               November 5th, Keystone, Colorado
           83. Trauma in Pregnancy
               2009 Colorado State EMS Conference
               November 6th, Keystone, Colorado
           84. Update in EMS Literature: What’s Hot and What’s Not
               2009 Colorado State EMS Conference
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               November 6th, Keystone, Colorado
           85. Lessons Learned from the DNC
               International Preparedness and Response to Emergencies and Disasters
               (IPRED)
               January 12th 2010
               Tel Aviv, Israel
           86. Geriatric Trauma
               Second Annual BCFFA EMS Conference
               January 23rd 2010, Boulder, Colorado
           87. Pharmaceutical Restraints: A New Medication Approach to the Agitated
               Patient
               The EMS State of the Sciences Conference: A Gathering of Eagles 2010
               February 26th, 2010
               Dallas, Tx
           88. Transfer of the Rural Trauma Patient
               Second Annual Western Colorado Trauma Conference
               May 21st 2010, Delta, Colorado
           89. Moderator, EMS Medical Director Panel: “Refusal of Care in the Prehospital
               Setting”
               37th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 17th 2010, Breckenridge, Colorado
           90. Critical Issues in Triage
               37th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 18th 2010, Breckenridge, Colorado
           91. Field Triage Guidelines: State of the Art or State of the Science?
               ACEP Scientific Assembly 2010
               September 28th, Las Vegas, Nevada
           92. Less Lethal Force: An Emerging Problem in Prehospital Care
               ACEP Scientific Assembly 2010
               September 29th, Las Vegas, Nevada
           93. Trauma Case Panel: Stump the Experts
               Carlo Rosen (Moderator), Christopher B. Colwell MD, John Fildes MD, Julie
               A. Mayglothling MD.
               ACEP Scientific Assembly 2010
               September 29th, Las Vegas, Nevada
           94. Critical Issues in Triage
               Trauma and Critical Care Conference
               October 22nd, 2010
               Durango, Colorado
           95. Trauma Panel Case Review
               Christopher B. Colwell, Moderator
               October 23rd, 2010
               Durango, Colorado
           96. Lightning and Electrical Emergencies
               Trauma and Critical Care Conference
               October 23rd, 2010
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               Durango, Colorado
           97. Cadaver Dissection Lab
               Colorado State EMS Conference 2010
               November 4th, 2010
               Keystone, Colorado
           98. Accidental Hyper And Hypothermia And All Things In Between
               Colorado State EMS Conference 2010
               November 5th, 2010
               Keystone, Colorado
           99. Biophone Calls: The Good, The Bad, And The Ugly
               Colorado State EMS Conference 2010
               November 5th, 2010
               Keystone, Colorado
           100. Geocoding Cardiac Arrest in Denver
               ECCU 2010 (Emergency Cardiac Care Update)
               December 8th, 2010
               San Diego, California
           101. Management of the Agitated Patient
               ECCU 2010 (Emergency Cardiac Care Update)
               December 9th, 2010
               San Diego, California
           102. The Nose Knows: Intranasal Medication Options are Growing
               EMS State of the Sciences: A Gathering of Eagles XIII 2011
               February 26th, 2011
               UT Southwestern Medical Center, Dallas, Texas
           103. Beyond Agitated Delirium: Dealing with the Issue of In-Custody Deaths
               The EMS State of the Sciences: A Gathering of Eagles XIII 2011
               February 26th, 2011
               UT Southwestern Medical Center, Dallas, Texas
           104. ED Operations 101: Follow the Money
               Council of Emergency Medicine Residency Directors (CORD) Academic
               Assembly 2011 (March 4th)
               San Diego, California
           105. CPR, Defibrillation, and Drugs: What is the right VF mix?
               EMS Regional Conference: Resuscitation Excellence
               May 15th, 2011
               New York, New York
           106. We Don’t Need No Stinking Breaths! Compressions Only Pre-Arrival
               Instructions.
               EMS Regional Conference: Resuscitation Excellence
               May 15th, 2011
               New York, New York
           107. Moderator – Panel Discussion: Optimizing Colorado’s Trauma System
               38th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 22nd, 2011
               Breckenridge, Colorado
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           108. Pitfalls in Trauma Care
              38th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 24th, 2011
              Breckenridge, Colorado
           109. Deleterious Delirium Deliberations: Modern Pitfall is Managing Agitated
              EMS Patients
              Advanced EMS Practitioner’s Forum and Workshop
              ACEP Scientific Assembly
              October 14th, 2011
              San Francisco, California
           110. Certifiable Behaviors: Preparing for EMS Subspecialty Board
              Certification
              Advance EMS Practitioner’s Forum and Workshop
              ACEP Scientific Assembly
              October 14th, 2011
              San Francisco, California
           111. Cadaver Dissection and Anatomy Lab
              Colorado State EMS Conference 2011
              November 3rd, 2011
              Keystone, Colorado
           112. On the Wings of Eagles: Hot Topics in EMS
              Colorado State EMS Conference 2011
              November 4th, 2011
              Keystone, Colorado
           113. Droperidol for Agitation
              Advanced Topics in Medical Direction
              NAEMSP National Meeting, 2012
              January 11th, 2012
              Tucson, Arizona
           114. Trauma in Pregnancy
              Children’s Hospital EMS Conference
              Aurora, Colorado
              January 20th, 2012
           115. Withdrawing Support: A Prehospital Protocol for Alcohol Withdrawal
              EMS State of the Science: A Gathering of Eagles XIV
              February 24th, 2012
              Dallas, Texas
           116. A Sanguine Approach: The Use of Blood Products and Substitutes in the
              Field
              EMS State of the Science: A Gathering of Eagles
              February 24th, 2012
              Dallas, Texas
           117. Blast Injuries
              1st Annual Trauma Symposium
              March 15th, 2012
              Burlington, Colorado
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           118. Rural Trauma
              1st Annual Trauma Symposium
              March 15th, 2012
              Burlington, Colorado
           119. Trauma in Pregnancy
              2012 NE Colorado EMS Symposium
              April 21st, 2012
              Fort Morgan, Colorado
           120. Hemorrhage Control in the Field: Tourniquets and Beyond
              Grand Rounds – St. Mary’s and Convent Health Care/Synergy Medical Center
              Hospitals
              May 10th, 2012
              Saginaw, Michigan
           121. Mass Casualty and Disaster Management
              Invited Lecture – Convent Health Care/Synergy Medical Center
              April 21st, 2012
              Saginaw, Michigan
           122. Trauma in Pregnancy
              39th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 29th, 2012
              Breckenridge, Colorado
           123. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
              Emergency Cardiac Care Update (ECCU) 2012
              Pre-conference Workshop
              September 12th, 2012
              Orlando, Florida
           124. Withdrawing Support: Managing Alcohol Withdrawal in the Field
              Emergency Cardiac Care Update (ECCU) 2012
              Pre-conference Workshop
              September 12th, 2012
              Orlando, Florida
           125. Making Waves Diagnostically: Identifying Subtle Critical Emergencies
              with Capnography
              Emergency Cardiac Care Update (ECCU) 2012
              Conference Session – Eagles: State of the Science
              September 13th, 2012
              Orlando, Florida
           126. Two Carbon Fragmentations: A Prehospital Protocol for Ethanol
              Withdrawal.
              2012 ACEP Advanced EMS Practitioners’ Forum and Workshop
              October 7th, 2012
              Denver, Colorado
           127. How to Break the Ache: 2012 Approaches to Prehospital Pain Control
              2012 ACEP Advanced EMS Practitioners’ Forum and Workshop
              October 7th, 2012
              Denver, Colorado
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           128. I’d Scan That! Effective Diagnostic Trauma Imaging
              ACEP Scientific Assembly
              October 9th, 2012
              Denver, Colorado
           129. Evidence-Based Minor Trauma Management
              ACEP Scientific Assembly
              October 9th, 2012
              Denver, Colorado
           130. Trauma Talk: The Latest and the Greatest Trauma Literature
              ACEP Scientific Assembly
              October 10th, 2012
              Denver, Colorado
           131. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield
              ACEP Scientific Assembly
              October 10th, 2012
              Denver, Colorado
           132. MCI Medical Response: Are We Prepared?
              Denver Health Critical Care Conference
              October 12th, 2012
              Denver, Colorado
           133. The Colorado Shootings: Lessons Learned from Mass Casualty Events
              Grand Rounds – Beth Israel/Deaconess Medical Center
              November 7th, 2012
              Boston, Massachusetts
           134. The Colorado Shootings: Lessons Learned from Mass Casualty Events
              Keynote Speaker: Hillsborough County Medical Association
              November 13th, 2012
              Tampa Bay, Florida
           135. The Colorado Shootings: Lessons Learned on Disaster Management and
              Mass Casualty Events
              Grand Rounds: Scripps Memorial Hospital
              December 11th, 2012
              La Jolla, California
           136. EMS in the Cross-Hairs: The Columbine, Aurora and Safeway Shootings
                  EMS State of the Science: A Gathering of Eagles XV
                  February 22nd, 2013
                  Dallas, Texas
           137. Oh, What a Relief It Is! Revisiting Pain Medication Use in EMS
                  EMS State of the Science: A Gathering of Eagles XV
                  February 22nd, 2013
                  Dallas, Texas
           138. ED Operations 101: Follow the Money
                  Council of Emergency Medicine Residency Directors (CORD)
                  Academic Assembly 2013
                  March 7th, 2013
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                 Denver, Colorado
           139. Disaster Planning & Response: Lessons Learned from the Colorado
              Shootings
                 Trauma, Critical Care, and Acute Care Surgery 2013 – Medical Disaster
                 Response
                 March 17th, 2013
                 Las Vegas, Nevada
           140. Case Management Interactive Session: Practical Issues & Dilemmas in
              Mass Casualty Preparedness
                 Trauma, Critical Care, and Acute Care Surgery 2013 – Medical Disaster
                 Response
                 March 17th, 2013
                 Las Vegas, Nevada
           141. Trauma Surgeons Emergency Physicians and Trauma Care
                 Trauma, Critical Care, and Acute Care Surgery 2013
                 March 20th, 2013
                 Las Vegas, Nevada
           142. Mass Casualty and Disaster Management – The Colorado Shootings
                 Visiting Professorship/Grand Rounds
                 Southern Illinois University School of Medicine
                 April 18th, 2013
                 Springfield, Illinois
           143. Mass Casualty and Disaster Management – The Colorado Shootings
                 Sangamon County Medical Society
                 April 18th, 2013
                 Springfield, Illinois
           144. Lessons Learned from the Colorado Shootings
                 12th Annual Trauma Symposium
                 Mississippi Coastal Trauma Region
                 May 1st, 2013
                 Biloxi, Mississippi
           145. Mass Casualty and Disaster Management – The Colorado Shootings
                 Grand Rounds – Indiana University Hospital-Methodist
                 May 10th, 2013
                 Indianapolis, Indiana
           146. Prehospital Panel
                 Moderator
                 40th Annual Rocky Mountain Trauma & Emergency Medicine
                 Conference
                 June 27th, 2013
                 Breckenridge, Colorado
           147. Environmental Emergencies
                 40th Annual Rocky Mountain Trauma & Emergency Medicine Conference
                 June 28th, 2013
                 Breckenridge, Colorado
           148. Lessons Learned from the Colorado Shootings
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                 43rd Annual Wyoming Trauma Conference
                 August 16th, 2013
                 Cheyenne, Wyoming
           149. Oh What a Relief It Is: Evolving Trends in Prehospital Pain Management
                 IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
                 August 24th, 2013
                 Denver, Colorado
           150. EMS in the Cross-Hairs: The Columbine, Aurora, and Safeway Shootings
                 IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
                 August 24th, 2013
                 Denver, Colorado
           151. The Reality of the New Specialty: What Will Be the Impact of the New
              EMS Boards for Fire?
                 IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
                 August 24th, 2013
                 Denver, Colorado
           152. I’d Scan That!: Use of CT Scans in Trauma Care
                 Grand Rounds – University of Wisconsin School of Medicine
                 August 29th, 2013
                 Madison, Wisconsin
           153. Evidence-Based Minor Trauma Management
                 Grand Rounds – University of Wisconsin School of Medicine
                 August 29th, 2013
                 Madison, Wisconsin
           154. Mass Casualty and Disaster Management: EMS Lessons from the
              Colorado Shootings
                 EMS World Expo 2013
                 September 11th, 2013
                 Las Vegas, Nevada
           155. 2013 Approaches to Pain Management and Sedation
                 EMS World Expo 2013
                 September 11th, 2013
                 Las Vegas, Nevada
           156. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
                 DuPage County Medical Society Annual Meeting
                 October 9th, 2013
                 Chicago, Illinois
           157. Mass Casualty Management: The Colorado Shootings
                 Northern Colorado Emergency and Trauma Care Symposium
                 October 11th, 2013
                 Loveland, Colorado
           158. The Combative, Uncooperative, Arrested and Threatening Trauma Patient:
              A Legal, Ethical and Medical Minefield!
                 ACEP Scientific Assembly 2013
                 October 15th, 2013
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                 Seattle, Washington
           159. Skip the Scan! Effective Diagnostic Trauma Imaging
                 ACEP Scientific Assembly 2013
                 October 16th, 2013
                 Seattle, Washington
           160. I Survived: Domestic Disasters – Lessons Learned from the Trenches
                 ACEP Scientific Assembly 2013
                 October 16th, 2013
                 Seattle, Washington
           161. Managing Ballistic Injuries in the Pre-Hospital Setting
                 World Extreme Medicine Expo 2013
                 Harvard Medical School
                 October 28th, 2013
                 Boston, Massachusetts
           162. Cadaver Lab – Trauma Procedures
                 Colorado State EMS Conference 2013
                 November 7th, 2013
                 Keystone, Colorado
           163. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
                 2013 Trauma and Critical Care Conference
                 November 8th, 2013
                 Durango, Colorado
           164. Mass Casualty and Disaster Management: The Colorado Shootings
                 Lake County Medical Society Annual Meeting
                 December 3rd, 2013
                 Chicago, Illinois
           165. Myths in Trauma Care
                 Yampa Valley Medical Center Trauma Conference
                 November 15th, 2013
                 Steamboat Springs, Colorado
           166. Myths in Pediatric Care
                 The Brian Schimpf Memorial Prehospital Pediatric Care Conference
                 February 8th, 2014.
                 Denver, Colorado
           167. Child-Like Behaviors: 10 Myths of EMS Pediatric Care
                 EMS State of the Science: A Gathering of Eagles XVI
                 February 28th, 2014
                 Dallas, Texas
           168. Epidemic Proportions: Dosing Ketamine in the Era of Mamba Dramas
                 EMS State of the Science: A Gathering of Eagles XVI
                 March 1st, 2014
                 Dallas, Texas
           169. Covering Mental Illness and Violence
                 Health Journalism 2014 (Association of Health Care Journalism)
                 March 29th, 2014
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                 Denver, Colorado
           170. Wound Management: How Do you Manage Cuts and Burns
                 American College of Emergency Physicians (ACEP) Advanced Practice
                 Provider Academy
                 April 15th, 2014
                 San Diego, CA
           171. Evaluation of Patients with Blunt Multiple Trauma and Penetrating
              Trauma: A Systematic Approach
                 American College of Emergency Physicians (ACEP) Advanced Practice
                 Provider Academy
                 April 15th, 2014
                 San Diego, CA
           172. Preparedness Put to the Test: Lessons Learned from Major Events to
              Guide Hospital Disaster Preparedness
                 Medical World Americas Conference and Expo
                 April 28th, 2014
                 Houston, TX
           173. Myths in Trauma Care
                 13th Annual MS Coastal Trauma Symposium
                 May 14th, 2014
                 Biloxi, MS
           174. Anxiolysis for the Cardiac Care Provider: Easy Choices for Sedation in
              Emergency Care
                 Emergency Cardiac Care Update (ECCU), EMS Preconference Workshop
                 June 3rd, 2014
                 Las Vegas, NV
           175. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
                 Emergency Cardiac Care Update (ECCU), EMS Preconference Workshop
                 June 3rd, 2014
                 Las Vegas, NV
           176. Anxiolysis for the Cardiac Care Provider: Easy Choices for Sedation in
              Emergency Care
                 Emergency Cardiac Care Update (ECCU), 2014 Citizens CPR
              Foundation: Clinical Solutions and Best Practices for EMS
                 June 4th, 2014
                 Las Vegas, NV
           177. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
                 Emergency Cardiac Care Update (ECCU), 2014 Citizens CPR
              Foundation: Clinical Solutions and Best Practices for EMS
                 June 4th, 2014
                 Las Vegas, NV
           178. Hyperfibrinolysis, Physiologic Fibrinolysis, and Fibrinolysis Shutdown:
              The Spectrum of Postinjury Fibrinolysis and Relevance to Antifibrinolytic
              Therapy
              Moderator - Denver Health Trauma Services Continuing Education Series
              June 25th, 2014
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              Denver, CO
           179. Myths in Pediatric Emergency Care
              41st Annual Rocky Mountain Trauma and Emergency Medicine Conference
              July 9th, 2014
              Breckenridge, CO
           180. The Combative, Uncooperative, Intoxicated Patient: An Ethical, Moral
              and Legal Dilemma
              41st Annual Rocky Mountain Trauma and Emergency Medicine Conference
              July 11th, 2014
              Breckenridge, CO
           181. Myths in Pediatric Care
              2014 University of Colorado Health and Denver Health Trauma Consortium:
              Acute Care Surgery, Trauma, and EMS Conference
              August 23rd, 2014
              Colorado Springs, CO
           182. Rural Trauma Care
              Great Plains Trauma Conference
              September 18th, 2014
              North Platte, Nebraska
           183. How to Break the Ache: 2014 Ways to Manage Prehospital Analgesia and
              Sedation
              Advanced EMS Practitioner’s Forum and Workshop
              ACEP 2014
              October 26th, 2014
              Chicago, Illinois
           184. No Small Lie: Debunking Myths in Pediatric EMS Care
              Advanced EMS Practitioner’s Forum and Workshop
              ACEP 2014
              October 26th, 2014
              Chicago, Illinois
           185. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield!
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 27th, 2014
              Chicago, Illinois
           186. Cruising the Literature: The Most Influential EMS Articles of 2014
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 28th, 2014
              Chicago, Illinois
           187. Tales from the Rig: EMS Medical Director Words of Wisdom
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 28th, 2014
              Chicago, Illinois
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           188. Imagine a World Without Backboards? Controversies in Spinal
              Immobilization
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 28th, 2014
              Chicago, Illinois
           189. Disaster Management: Lessons Learned from the Colorado Shootings
              Keynote Address: 9th Annual NORTN Regional Trauma Conference
              November 7th, 2014
              Akron General Hospital, Akron, Ohio
           190. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield!
              9th Annual NORTN Regional Trauma Conference
              November 7th, 2014
              Akron General Hospital, Akron, Ohio
           191. Ketamine for Excited Delirium
              EMS World Expo
              November 11th, 2014
              Nashville, TN
           192. 10 Myths of EMS Pediatric Care
              EMS World Expo
              November 11th, 2014
              Nashville, TN
           193. Biophone Communications
              EMS World Expo
              November 11th, 2014
              Nashville, TN
           194. EMS Medical Director Panel
              EMS World Expo
              November 12th, 2014
              Nashville, TN
           195. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield!
              Boulder Community Hospital/AMR EMS Conference 2014
              December 6th, 2014
              Boulder, CO
           196. Special K: Ketamine in EMS
              7th Annual Advanced Topics in Medical Direction
              NAEMSP 2015
              January 20th, 2015
              New Orleans, LA
           197. First it was Backboards, now C-Collars
              EMS State of the Science: A Gathering of Eagles XVII
              February 20th, 2015
              Dallas, TX
           198. Taking it to the Streets! Prehospital Infusion of Plasma
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              EMS State of the Science: A Gathering of Eagles XVII
              February 20th, 2015
              Dallas, TX
           199. Street Fighting Man! When the Combative Patient is Refusing Transport
              EMS State of the Science: A Gathering of Eagles XVII
              February 21st, 2015
              Dallas, TX
           200. A Hurt-Full Remark: Supporting Ketamine Use for Pain Management
              EMS State of the Science: A Gathering of Eagles XVII
              February 21st, 2015
              Dallas, TX
           201. Imagine a World Without Backboards? Controversies in Spinal
              Immobilization
              2nd Annual Brain Schimpf Memorial Pediatric EMS Conference
              February 28th, 2015
              Denver, CO
           202. Providing for the Providers: Impact of Traumatic Events on Providers
              Keynote address: Colorado CPR Association Annual Meeting
              April 30th, 2015
              Denver, CO
           203. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              North Trauma Care Region 2015 Trauma Symposium
              May 8th, 2015
              Tupelo, MS
           204. Management of Excited Delirium in the Era of Legalized Marijuana
              Vanderbilt Residency in Emergency Medicine
              May 19th, 2015
              Nashville, TN
           205. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Grand Rounds Presentation, Vanderbilt University School of Medicine
              May 19th, 2015
              Nashville, TN
           206. Active Shooter – Prehospital Forum (Moderator)
              42nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 19th, 2015
              Vail, Colorado
           207. Imagine a World without Backboards
              42nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 20th, 2015
              Vail, Colorado
           208. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Ohio EMS Lecture Series – Keynote address
              August 20th, 2015
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              Akron, Ohio
           209. Myths in Pediatric Care
              Grand Rounds, Deaconess Regional Trauma Center
              EMS Trauma Symposium
              September 9th, 2015
              Evansville, Indiana
           210. Plasma Administration in the Field: The COMBAT Trial
              World Trauma Symposium
              September 16th, 2015
              Las Vegas, Nevada
           211. The Combative, Uncooperative, Intoxicated Trauma Patient: A Medical,
              Legal, and Ethical Nightmare!
              EMS World
              September 17th, 2015
              Las Vegas, Nevada
           212. The Medical Impact of Marijuana Legalization
              EMS World
              September 17th, 2015
              Las Vegas, Nevada
           213. How to Deploy a New Toy for Every Girl and Boy: Implementing a
              Simpler System for Treating Children
              ACEP 2015 Scientific Assembly Advanced EMS Practitioners Forum and
              Workshop
              October 25th, 2015
              Boston, Massachusetts
           214. For the Life of all Flesh is the Blood Thereof! Prehospital Use of Blood
              Products and Systemic Bleeding Control
              ACEP 2015 Scientific Assembly Advanced EMS Practitioners Forum and
              Workshop
              October 25th, 2015
              Boston, Massachusetts
           215. Trauma STAT! Don’t Miss the Visual Cue
              ACEP Scientific Assembly 2015
              October 28th, 2015
              Boston, Massachusetts
           216. The Combative, Uncooperative Trauma Patient
              ACEP Scientific Assembly 2015
              October 28th, 2015
              Boston, Massachusetts
           217. How to Deploy a New Toy for Every Girl and Boy: Implementing a
              Simpler System for Treating Children
              EAGLES – Best Practices in Street Medicine: Implementing the New
              Guidelines and Several Exceptional Innovations in Out-of-Hospital
              Emergency Cardiac Care
              ECCU (Emergency Cardiovascular Care Update) 2015
              December 9th, 2015
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              San Diego, California
           218. Anxiolysis in Emergency Cardiac Care: 2015 Approaches to Safe
              Sedation
              EAGLES – Best Practices in Street Medicine: Implementing the New
              Guidelines and Several Exceptional Innovations in Out-of-Hospital
              Emergency Cardiac Care
              ECCU (Emergency Cardiovascular Care Update) 2015
              December 9th, 2015
              San Diego, California
           219. Latest Drugs of Abuse: The Impact of Legalization of Marijuana and
              Testing of EMS Personnel
              EMS Today (JEMS Conference and Exposition
              February 25th, 2016
              Baltimore, Maryland
           220. Chemical Suicides
              EMS Today (JEMS Conference and Exposition)
              February 25th, 2016
              Baltimore, Maryland
           221. Lightning Rounds: Ask the Eagles
              EMS Today (JEMS Conference and Exposition)
              February 26th, 2016
              Baltimore, Maryland
           222. Deliriously Yours: 2016 Approaches to Managing the Toxic Patients
              First There First Care Regional EMS Conference
              May 26th, 2016
              Broward County, Florida
           223. Promoting Post-Traumatic Provider Protection: Dealing with Depression,
              Anxiety, and Stress in EMS
              First There First Care Regional EMS Conference
              May 26th, 2016
              Broward County, Florida
           224. There Will Be Blood in the Streets: On-Scene Use of Plasma, Cells and
              Other Clot-Musters
              First There First Care Regional EMS Conference
              May 26th, 2016
              Broward County, Florida
           225. Trauma in Pregnancy
              43rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 18th, 2016
              Denver, Colorado
           226. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Zuckerberg San Francisco General Hospital and Trauma Center Department
              of Medicine Grand Rounds
              September 6th, 2016
              San Francisco, California
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           227. Primum Non Nocere – to Yourself: Responding to the Malicious Mayhem
              of Mentally-ill Menaces
              2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
              Workshop
              October 15th, 2016
              Las Vegas, Nevada
           228. No Child (or Adult) Left Behind? The Complexities of Patient Refusal &
              Non-Transport Decisions
              2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
              Workshop
              October 15th, 2016
              Las Vegas, Nevada
           229. Taking the Pressure Off Sedation: Why Ketamine is My Pet Amine
              2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
              Workshop
              October 15th, 2016
              Las Vegas, Nevada
           230. Beyond the MVC: Burned, Blasted, and Bolted Trauma Victims
              2016 ACEP Scientific Assembly
              October 16th, 2016
              Las Vegas, Nevada
           231. Fast Facts: Let’s Chat About Trauma
              2016 ACEP Scientific Assembly
              October 16th, 2016
              Las Vegas, Nevada
           232. The Combative, Uncooperative, Trauma Patient
              2016 ACEP Scientific Assembly
              October 16th, 2016
              Las Vegas, Nevada
           233. Managing the Malicious Mayhem from Mentally Ill Menaces: The
              Evolving Roles of EMS in Active Shooter Incidents
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           234. Grass Roots Experience with Swedish Fish: A Token Presentation on
              Marijuana Legalization
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           235. Promoting Post-Traumatic Provider Protection: Dealing with Depression,
              Anxiety, and Stress in EMS
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           236. Minding Your P’s and Q’s: What are the Actual Cardiac Effects of
              Sedation Practices?
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              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           237. It’s No Small Matter: Implementing a Simpler System for Treating
              Children
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           238. Calling a Code Alert on our Mental Health: Suicide in EMS
              2017 NAEMSP Annual Meeting and Scientific Assembly
              January 26th, 2017
              New Orleans, Louisiana
           239. Child Abuse
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           240. Apparent Life-Threatening Events
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           241. Impact of Marijuana Legalization
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           242. Myths in Pediatric Care
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           243. Traumatic Shock
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           244. Penetrating Abdominal Trauma
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           245. The Combative, Intoxicated Trauma Patient: A Medical, Legal, and
              Ethical Conundrum!
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           246. Geriatric Trauma
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           247. Accidental Hypothermia
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              Wilderness Medicine: Avoiding and Managing Outdoor Medical Emergencies
              UCSF Wilderness Medicine Medical School Elective and Mini Medical
              School for the Public
              April 26th, 2017
              San Francisco, California
           248. High Altitude Illness
              Wilderness Medicine: Avoiding and Managing Outdoor Medical Emergencies
              UCSF Wilderness Medicine Medical School Elective and Mini Medical
              School for the Public
              April 26th, 2017
              San Francisco, California
           249. Managing the Crashing, Combative Trauma Patient
              High Risk Emergency Medicine San Francisco
              June 1st, 2017
              San Francisco, California
           250. Imaging in Trauma
              High Risk Emergency Medicine San Francisco
              June 1st, 2017
              San Francisco, California
           251. Safe Sedation in the Era of Legalized Marijuana
              National EMS Safety Summit
              August 21st, 2017
              Denver, Colorado
           252. Safety in EMS – Panel Discussion
              National EMS Safety Summit
              August 22nd, 2017
              Denver, Colorado
           253. Lessons Learned from Active Shooter Scenarios
              6th Annual Medical-Legal Forum
              Mile High Regional Medical and Trauma Advisory Council
              September 28th, 2017
              Lakewood, Colorado
           254. Integration and Challenges of Local, State and Federal Medical Surge
              Resources – Perspectives on the SFFW Full Scale Exercise and Asset
              Integration
              Panelist – Medical Peer to Peer Exchange Seminar
              San Francisco Fleet Week 2017
              October 4th, 2017
              San Francisco, California
           255. Trauma STAT! Don’t Miss This Visual Cue!
              American College of Emergency Physicians (ACEP) Scientific Assembly
              October 31st, 2017
              Washington D.C.
           256. FAST FACTS: Let’s Chat About Adult Trauma
              American College of Emergency Physicians (ACEP) Scientific Assembly
              October 31st, 2017
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              Washington D.C.
           257. Advanced Wound Care Closure in the ED: Putting the Pieces Back
              Together
              American College of Emergency Physicians (ACEP) Scientific Assembly
              October 31st, 2017
              Washington D.C.
           258. Pediatric Resuscitation is No Small Matter: 2017 Approaches to Managing
              Cardiac Events in Children
              Emergency Cardiovascular Care Update (ECCU) 2017
              December 5th, 2017
              New Orleans, Louisiana
           259. De-MS in EMS: Fentanyl versus Morphine for Chest Pain Management
              Emergency Cardiovascular Care Update (ECCU) 2017
              December 5th, 2017
              New Orleans, Louisiana
           260. Toxic Remarks: Case Studies of Cardiac Effects of Drugs of Abuse
              Emergency Cardiovascular Care Update (ECCU) 2017
              December 6th, 2017
              New Orleans, Louisiana
           261. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Grand Rounds – University of Michigan Department of Emergency Medicine
              January 10th, 2018
              Ann Arbor, Michigan
           262. Better Mind Your P’s and Q;s: Subtle Cardiac Effects of Drugs of Abuse
              EMS State of the Science: A Gathering of Eagles XX
              March 2nd, 2018
              Dallas, Texas
           263. DeMSing EMS: Why I’d Get Rid of Morphine Sulfate
              EMS State of the Science: A Gathering of Eagles XX
              March 3rd, 2018
              Dallas, Texas
           264. A Grass Roots Experience: The Medical Implications of Marijuana
              Legalization in Colorado
              ZSFG Medicine Grand Rounds
              March 27th, 2018
              San Francisco, California
           265. Pitfalls in the Trauma Airway
              UCSF High Risk Emergency Medicine Hawaii
              April 9th, 2018
              Maui, Hawaii
           266. Challenging Trauma Case Panel
              Moderator
              UCSF High Risk Emergency Medicine
              April 11th, 2018
              Maui, Hawaii
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           267. Pitfalls in Patients with Stab Wounds
              UCSF High Risk Emergency Medicine Hawaii
              April 10th, 2018
              Maui, Hawaii
           268. Pitfalls in the Patient Found Down
              UCSF High Risk Emergency Medicine Hawaii
              April 10th, 2018
              Maui, Hawaii
           269. The Combative, Uncooperative Trauma Patient
              SEMPA 360 – Society of Emergency Medicine Physician Assistants National
              Assembly
              May 5th, 2018
              San Antonio, Texas
           270. Mass Casualty: Lessons Learned from the Colorado Shootings
              SEMPA 360 – Society of Emergency Medicine Physician Assistants National
              Assembly
              May 5th, 2018
              San Antonio, Texas
           271. The Medical Impact of Marijuana Legalization
              SEMPA 360 – Society of Emergency Medicine Physician Assistants National
              Assembly
              May 5th, 2018
              San Antonio, Texas
           272. Update on Urologic Emergencies
              Moderator – Panel Discussion on Testicular Torsion, Priapism, and Penile
              Fracture
              American Urological Association (AUA) Annual Meeting 2018
              May 20th, 2018
              San Francisco, California
           273. Assessing Capacity in the Intoxicated Trauma Patient
              Keynote Address – 45th Annual Rocky Mountain Trauma and Emergency
              Medicine Conference
              June 7th, 2018
              Vail, Colorado
           274. Pitfalls in Patients with Stab Wounds
              45th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 8th, 2018
              Vail, Colorado
           275. Trauma Panel of Experts
              45th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 8th, 2018
              Vail, Colorado
           276. Cruising the Literature: Trauma 2018
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 2nd, 2018
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              San Diego, California
           277. Fast Facts: Let’s Chat about Adult Trauma
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 2nd, 2018
              San Diego, California
           278. ED Thoracotomy: When, Who, and How
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 3rd, 2018
              San Diego, California
           279. Clear as Mud: C-Spine Clearance 2018
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 3rd, 2018
              San Diego, California
           280. Grass-Roots Experience with Rocky Mountain Highs: What Marijuana
              Legislation did for the C-States
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           281. How to De-Code the No-Load Mode: When a Patient Declines Transport
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           282. Mitigating Child-Like Behaviors: Dismantling Major Myths of EMS Care
              for Kids
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           283. Not Just a Breathless Experience: The Cardiac Effects of Drugs of Abuse
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           284. Altered States of Mind – Part 1: Sedation Practices in EMS
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           285. Causalities for Caustic Cautions About Precautions: 2018 Approaches to
              Spinal Motion Restriction
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           286. On the Wings of Eagles – Hot Topics in EMS
              Iowa EMS Association (IEMSA) Annual Meeting
              November 9th, 2018
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              Des Moines, Iowa
           287. Myths in Pediatric Care
              Iowa EMS Association (IEMSA) Annual Meeting
              November 10th, 2018
              Des Moines, Iowa
           288. Impact of Legalization of Marijuana on EMS/The Combative Intoxicated
              Patient
              Iowa EMS Association (IEMSA) Annual Meeting
              November 10th, 2018
              Des Moines, Iowa
           289. Intubation and Sedation of the Critically Ill Patient
              High Risk Emergency Medicine 2019
              February 19th, 2019
              Honolulu, Hawaii
           290. Transfer of the Trauma Patient
              High Risk Emergency Medicine 2019
              February 20th, 2019
              Honolulu, Hawaii
           291. Advanced Wound Care Closure in the ED
              High Risk Emergency Medicine 2019
              February 22nd, 2019
              Honolulu, Hawaii
           292. Persistent Injurious Concepts: Continuing Major Myths in Trauma Care
              EMS State of the Science XXI: A Gathering of Eagles
              March 1st, 2019
              Dallas, Texas
           293. Electrocardiography 501: Subtle ECG Findings You Might Miss
              EMS State of the Science XXI: A Gathering of Eagles
              March 2nd, 2019
              Dallas, Texas
           294. The History of Emergency Medicine
              San Diego Trauma Society
              April 12th, 2019
              San Diego, California
           295. Trauma Literature 2019 – The Latest and Greatest
              Grand Rounds: Mount Sinai Health System/Icahn School of Medicine
              April 16th, 2019
              New York, New York
           296. Hypothermia and Cold Related Injury
              2019 Wilderness Medicine Elective
              UCSF School of Medicine
              May 1st, 2019
              San Francisco, California
           297. High Altitude Illness
              2019 Wilderness Medicine Elective
              UCSF School of Medicine
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              May 1, 2019
              San Francisco, California
           298. Precautionary Cautions About Precautions: 2019 Approaches to Spinal
              Motion Restriction
              Polk County Fire Rescue EMS Week 2019 Medical Seminar – Eagles
              May 23rd, 2019
              Orlando, Florida
           299. Mitigating Child-Like Behaviors: Dismantling the Major Myths about
              Managing Maladies in Minors
              Polk County Fire Rescue EMS Week 2019 Medical Seminar – Eagles
              May 23rd, 2019
              Orlando, Florida
           300. Acing the Tracing Your Facing: Subtle ECG Findings You Don’t Want to
              Miss
              Polk Country Fire Rescue EMS Week 2019 Medical Seminar – Eagles
              May 23rd, 2019
              Orlando, Florida
           301. Mass Casualty and Disaster Management – Lessons Learned from the
              Colorado Shootings
              Grand Rounds – Department of Emergency Medicine
              University Hospitals Cleveland Medical Center
              June 13th, 2019
              Cleveland, Ohio
           302. High Altitude Illness
              University Hospitals Cleveland Medical Center
              June 13th, 2019
              Cleveland, Ohio
           303. Sedation of the Trauma Patient
              University Hospitals Cleveland Medical Center
              June 13th, 2019
              Cleveland, Ohio
           304. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Keynote address – 31st Annual David Miller Memorial Trauma Symposium
              October 11th, 2019
              Springfield, Missouri
           305. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield
              31st Annual David Miller Trauma Symposium
              October 11th, 2019
              Springfield, Missouri
           306. Management of Pelvic Trauma – Binders, REBOA, and More!
              American College of Emergency Physicians (ACEP) Scientific Assembly,
              2019 [ACEP19]
              October 28th, 2019
              Denver, Colorado
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           307. Life Saving Procedures in Trauma
              American College of Emergency Physicians (ACEP) Scientific Assembly,
              2019 [ACEP19]
              October 28th, 2019
              Denver, Colorado
           308. Cruising the Literature – Best Trauma Articles of 2019
              American College of Emergency Physicians (ACEP) Scientific Assembly,
              2019 [ACEP19]
              October 29th, 2019
              Denver, Colorado
           309. Transfer of the Trauma Patient
              Grand Rounds – Kaiser San Francisco
              December 3rd, 2019
              San Francisco, California
           310. Management of Pelvic Fractures
              Grand Rounds – Vanderbilt University Medical Center
              December 17th, 2019
              Nashville, Tennessee
           311. Mass Shootings in the United States
              Keynote address – Clinical Governance Day
              The Royal London Hospital (via Zoom)
              February 6th, 2020
           312. Mass Casualty and Disaster Management – Lessons Learned from the
              Colorado Shootings 2020
              University of Wisconsin
              Emergency Medicine Grand Rounds
              September 24th, 2020
              Madison, Wisconsin (Virtual)
           313. Management of the Agitated Trauma Patient – A Medical, Legal, and
              Ethical Minefield
              University of Wisconsin
              Emergency Medicine Grand Rounds
              September 24th, 2020
              Madison, Wisconsin (Virtual)
           314. Cruising the Literature: Trauma 2020
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2020
              October 26th, 2020
              Dallas, Texas (Virtual – live)
           315. Management of Pelvic Trauma
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2020
              October 26th, 2020
              Dallas, Texas (Virtual)
           316. Managing the Agitated Trauma Patient
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              American College of Emergency Physicians (ACEP) Scientific Assembly
              2020
              October 27th, 2020
              Dallas, Texas (Virtual)
           317. Resuscitation of the Trauma Patient
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2020
              October 27th, 2020
              Dallas Texas (Virtual)
           318. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              OhioHealth Trauma Care 2020
              November 16th, 2020
              Columbus, Ohio (Virtual)
           319. Myths in Trauma Care
              OhioHealth Trauma Care 2020
              November 17th, 2020
              Columbus, Ohio (Virtual)
           320. Building Relationships with your ED Team
              Trauma Center Association of America – Trauma Medical Director’s course
              December 3rd, 2020
              Mooresville, North Carolina (Virtual)
           321. Meet the Medical Directors – The Ketamine Panel
              EMS World Expo Spring Conference, 2021
              March 3rd, 2021 (Virtual)
           322. Managing the Agitated Trauma Patient
              SEMPA Live
              April 12th, 2021 (Virtual)
           323. Management of the Agitated Trauma Patient
              Trauma Fundamentals 2021
              EMRAP Virtual International Conference
              April 14th, 2021
           324. Geriatric Trauma
              Trauma Fundamentals 2021
              EMRAP Virtual International Conference
              April15th, 2021
           325. Building Relationships with your ED Team
              Trauma Medical Director Course
              Trauma Center Association of America
              Mooresville, North Carolina (Virtual)
              April 29th, 2021
           326. The Combative, Uncooperative, Arrested and Threatening Trauma Patient
              35th Annual Midwest Trauma Conference
              May 6th, 2021
              Kansas City, Missouri
           327. The Columbine Shooting
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              35th Annual Midwest Trauma Conference (Keynote)
              May 7th, 2021
              Kansas City, Missouri
           328. Resuscitation of the Critically Ill Trauma Patient
              SEMPA 360 Annual Conference
              May 12th, 2021 (Virtual)
           329. On-Scene Inapsine: Getting the Drop on the Overall Amazing utility of
              Droperidol
              EMS State of the Science: XXII – A Gathering of Eagles
              First There First Care Conference
              June 17th, 2021
              Hollywood, Florida
           330. Defend the Glycocalyx (whatever that is)! Why Is Giving Crystalloids in
              Uncontrollable Hemorrhage So Wrong?
              EMS State of the Science: XXII – A Gathering of Eagles
              First There First Care Conference
              June 17th, 2021
              Hollywood, Florida
           331. Minding the Mind of EMS Professionals Part II: Creating Safe Harbors for
              First Responders in the Golden Gate City
              EMS State of the Science: XXII – A Gathering of Eagles
              First There First Care Conference
              June 18th, 2021
           332. Building Relationships with your Emergency Department Team
              Trauma Medical Director Course (Virtual)
              Trauma Center Association of America
              August 19th, 2021
           333. Endocarditis
              Key Topics in Cardiology
              EM-RAP Virtual Conference
              September 1st, 2021
           334. Management of WPW
              Key Topics in Cardiology
              EM-RAP Virtual Conference
              September 2nd, 2021
           335. Recent Advances in the Resuscitation of the Trauma Patient
              3rd Annual Marin-Health Medical Center Trauma Symposium
              October 12th, 2021
              Marin, California (Virtual)
           336. Resuscitation of the Trauma Patient
              American College of Emergency Physicians Scientific Assembly (ACEP21)
              October 27th, 2021
              Boston, Massachusetts
           337. Breaking the Cycle: Implementing a Community Violence Intervention
              Program in the ED (James D. Mills, Jr. Memorial Lecture)
              American College of Emergency Physicians Scientific Assembly (ACEP21)
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              October 27th, 2021
              Boston, Massachusetts
           338. Management of Pelvic Trauma
              American College of Emergency Physicians Scientific Assembly (ACEP21)
              October 27th, 2021
              Boston, Massachusetts
           339. Cruising the Literature: Trauma 2021
              American College of Emergency Physicians Scientific Assembly (ACEP21)
              October 28th, 2021
              Boston, Massachusetts
           340. Breaking the Cycle: Implementing a Community Violence Intervention
              Program in the ED
              Grand Rounds – Department of Pediatrics
              UCSF School of Medicine
              February 8th, 2022
           341. Medical Clearance of the Psychiatric Patient
              SEMPA 360
              April 6th, 2022
              Las Vegas, Nevada
           342. Trauma Literature 2022
              SEMPA 360
              April 6th, 2022
              Las Vegas, Nevada
           343. Trauma Resuscitation Pearls and Pitfalls
              High Risk Emergency Medicine
              April 10th, 2022
              Maui, Hawaii
           344. The Precipitous Delivery
              High Risk Emergency Medicine
              April 11th, 2022
              Maui, Hawaii
           345. Medical Clearance of the Psychiatric Patient
              High Risk Emergency Medicine
              April 13th, 2022
              Maui, Hawaii
           346. Trauma Literature Update 2022
              High Risk Emergency Medicine
              April 14th, 2022
              Maui, Hawaii
           347. Resuscitation of the Penetrating Trauma Patient
              EMRAP One
              April 20th, 2022
              Los Angeles, California
           348. Managing Patients with Agitated Behavior
              NAEMT/NAEMSP National Webinar
              May 10th, 2022
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           349. Five More on the Floor: The Five Most Important Trauma Publications of
              the Past Year
              2022 First There First Care Conference
              EMS State of the Science: XXIII – A Gathering of Eagles
              June 16th, 2022
              Hollywood, Florida
           350. Deciding Veracity in Capacity with Tenacity: How to Best and Safely
              Assess the Patient’s Ability to Decide Their Own Fate
              2022 First There First Care Conference
              EMS State of the Science: XXIII – A Gathering of Eagles
              June 17th, 2022
              Hollywood, Florida
           351. Geriatric Trauma
              Grand Rounds – University of Texas Southwestern
              July 21st, 2022
              Dallas, Texas
           352. School Shootings
              13th International Trauma Congress – Challenges in Trauma Patient Care
              July 28th, 2022
              Sao Paulo, Brazil (Virtual)
           353. Trauma Resuscitation
              Northwest Seminars – Topics in Emergency Medicine: Trauma
              August 8th, 2022
              Whitefish, Montana
           354. Trauma Literature 2020-2022
              Northwest Seminars – Topics in Emergency Medicine: Trauma
              August 8th, 2022
              Whitefish, Montana
           355. Geriatric Trauma
              Northwest Seminars – Topics in Emergency Medicine: Trauma
              August 9th, 2022
              Whitefish, Montana
           356. Management of the Agitated Trauma Patient
              Northwest Seminars – Topics in Emergency Medicine: Trauma
              August 9th, 2022
              Whitefish, Montana
           357. Pelvic Trauma
              Northwest Seminars – Topics in Emergency Medicine: Trauma
              August 11th, 2022
              Whitefish, Montana
           358. Myths in Trauma Care
              Northwest Seminars – Topics in Emergency Medicine: Trauma
              August 11th, 2022
              Whitefish, Montana
           359. Disaster Preparedness – Interactions with the Media
              Mass Casualty Incident Training
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              September 8th, 2022
              Tampa, Florida
           360. Disaster Preparedness – Communications during a Disaster
              Mass Casualty Incident Training
              September 8th, 2022
              Tampa, Florida
           361. Disaster Management – Hospital Preparedness
              Mass Casualty Incident Training
              September 9th, 2022
              Tampa, Florida
           362. Disaster Preparedness – Triage
              Mass Casualty Incident Training
              September 9th, 2022
              Tampa, Florida
           363. Disaster Preparedness – Lessons Learned from the Colorado Shootings
              Mass Casualty Incident Training
              September 9th, 2022
              Tampa, Florida
           364. Mass Casualty and Disaster Management – Lesson’s Learned from the
              Colorado Shootings
              Grand Rounds – Dartmouth Health
              September 14th, 2022
              Hanover, New Hampshire
           365. The Latest and Greatest: Trauma Literature 2022
              Resident Conference – Department of Emergency Medicine
              Dartmouth – Hitchcock Medical Center
              September 14th, 2022
              Hanover, New Hampshire
           366. Mass Casualty Medical Operations Management
              ACEP22 Preconference
              September 30th, 2022
              San Francisco, California
           367. Debunking Trauma Myths: It’s Not Just Politics
              ACEP22 Scientific Assembly
              October 1st, 2022
              San Francisco, California
           368. Cruising the Literature: Trauma 2022
              ACEP22 Scientific Assembly
              October 2nd, 2022
              San Francisco, California
           369. Pelvic Trauma Management
              ACEP22 Scientific Assembly
              October 2nd, 2022
              San Francisco, California
           370. Cruising the Literature: Trauma 2022
              ACEP Unconventional
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                November 2nd, 2022
                Virtual
             371.




     Certifications

                •     NRP, 2009
                •     ATLS, 2003
                        o ATLS Instructor
                                § November 18th, 2016
                                § July 23rd, 2017
                                § June 25th, 2018
                                § June 24th, 2019
                                § October 17th, 2019
                                § June 22nd, 2020
                                § July 10th, 2020
                                § June 10-11, 2021
                                § July 29-30, 2021
                                § June 9-10, 2022
                                § August 30, 2022
                                § March 31st, 2023
                •     ACLS, 1996
                •     PALS, 1994
                •     ATLS instructor, 2010 – present
                •     BLS, 2016

     Media

                •     Tales From the Front Lines - San Francisco Magazine – September, 2017
                •     How to Control Bleeding – The New York Times Magazine – April 22nd,
                      2018
                •     Skinned Knees to Broken Heads: Tracking Scooter Injuries – The New
                      York Times – August 3rd, 2018
                •     Interview – NBC – Scooter injuries – August 8th, 2018
                •     Interview – San Francisco Chronicle – Scooter Injuries – August 11th,
                      2018
                •     Wines on a Plane: Does Drinking Affect You Differently While Flying? –
                      Wine Spectator, August 21st, 2018
                •     National Public Radio (NPR) segment – Heat Related Emergencies –
                      October, 2018
                •     Interview – KPIX TV Channel 5 – Scooter injuries - January 25th, 2019
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              •   Interview – San Francisco Chronicle – Scooter Injuries – January 26th,
                  2019
              •   Interview – RTV6 Indianapolis – Marijuana use kills Indiana teen, mother
                  speaks out. Stephanie Wade, April 11, 2019
                  (https://www.theindychannel.com/news/working-for-you/marijuana-use-
                  kills-indiana-teen-mother-speaks-out)
              •   Interview – The New Yorker – Twenty years after Columbine. Michael
                  Luo, April 20th, 2019. (https://www.newyorker.com/news/news-
                  desk/twenty-years-after-columbine)
              •   Interview – Fox KTVU Channel 2 – San Francisco averaged one fentanyl
                  overdose death a week last year. Amber Led, June 25th, 2019
                  (http://www.ktvu.com/news/ktvu-local-news/san-francisco-averaged-one-
                  fentanyl-overdose-death-a-week-last-year)
              •   Patients Leaving AMA: Signed Forms Alone Are Not Sufficient
                  Malpractice Defense. ED Legal Letter, Volume 30, No. 8, p. 85-88,
                  August, 2019
              •   Interview – San Francisco Chronicle – Psychiatric patients in the ED.
                  August 15, 2019
              •   Interview – San Francisco Examiner – ED Diversion – September 26th,
                  2019
              •   Interview – San Francisco Chronicle – Emergency department
                  management of substance abuse – November 5th, 2019
              •   Interview – KTVU Channel 2 Morning News (Mornings on 2) – Holiday
                  mishaps – December 20th, 2019 https://sfgov1-
                  my.sharepoint.com/:v:/r/personal/maricella_miranda_sfdph_org/Documen
                  ts/Media/KTVU%202_Chris%20Colwell_ED%20holidays_2019/IMG_05
                  71.MOV?csf=1&e=RQGwJN
              •   Interview – KCBS news – Scooter injuries in the ER. January 15th, 2020
              •   Interview – KTVU Channel 2 Fox News – COVID 19 response, March
                  19th, 2020
                  https://www.facebook.com/548490151931030/posts/2731790630267627/
              •   Interview – LA Times – COVID 19 response, March 22, 2020
              •   Interview – KQED – COVID 19 response, March 24th, 2020
              •   Interview – KRON TV – COVID 19 response, March 26th, 2020
              •   Interview – ABC 7 News – COVID 19 expectations, April 13th, 2020
              •   Interview – ABD 7 News – COVID 19 and coagulation disorders, April
                  29th, 2020
              •   Interview – CalMatters Sacramento – Impact of delaying care during the
                  pandemic, May 12th, 2020
              •   Interview – Please don’t avoid the emergency room. Elemental (Ariela
                  Zebede, author), June 9th, 2020 https://elemental.medium.com/please-
                  dont-avoid-the-emergency-room-aafdd21e477e
              •   Interview – NBCUniversal - Impact of people staying away from the
                  hospital during the pandemic, June 19th, 2020
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              •   Interview – KGO TV/ABC news – Impact of COVID-19 on behavioral
                  health patients, July 13th, 2020
              •   Interview – Telemundo – Impact of the pandemic on behavioral health.
                  July 16, 2020
              •   Interview – KTVU Channel 2 Fox News – Heat –Related Emergencies,
                  August 14th, 2020
              •   Interview – San Francisco Chronicle – Substance abuse fatalities,
                  September 1st, 2020
              •   Interview – New York Times – Impact of climate change and fires on the
                  homeless, October 23rd, 2020
              •   Interview – ABC Channel 7 News – ‘Going to be hard’: Bay Area doctors
                  prepare for hospital surge as COVID-19 cases increase. November 16th,
                  2020
                      o https://www.msn.com/en-us/news/us/going-to-be-hard-bay-area-
                          doctors-prepare-for-hospital-surge-as-covid-19-cases-increase/ar-
                          BB1b57mx
              •   Interview – KTVU Fox 2 News – COVID-19 vaccine. December 15th,
                  2020
                      o https://www.ktvu.com/news/bay-area-hospital-workers-set-to-
                          receive-first-vaccinations
              •   Interview – ABC 7 News – COVID-19 vaccine. December 16th, 2020
                      o https://abc7news.com/health/sf-general-hospital-to-administer-its-
                          1st-covid-vaccine-doses/8785757/
              •   Interview – MSNBC – 3rd Surge of the pandemic. December 26th, 2020
              •   Interview – KGO TV ABC 7 News – Impact of the 3rd surge of the
                  pandemic, Saturday, January 2nd, 2021
              •   Interview – ABC news (local and national) – Impact of the holiday
                  celebrations on the hospitals in San Francisco. Saturday, January 9th, 2021
              •   Interview – SFGATE News – COVID-19 Surge in the Bay Area. January
                  10th, 2021
                     o   https://www.sfgate.com/bayarea/article/Christopher-Colwell-SF-
                         General-COVID-surge-plan-
                         15860497.php?utm_campaign=CMS%20Sharing%20Tools%20(Premium
                         )&utm_source=share-by-email&utm_medium=email
                      o
              •   Interview – ABC 7 News – Vaccine roll out in the Bay Area, January 11th,
                  2021
                      o https://abc7news.com/covid-19-vaccinations-california-bay-area-
                          covid-vaccine/9578842/
              •   Interview – FOX 2 News – Impact of the pandemic on the Bay Area,
                  January 11th, 2021
              •   Interview – ABC 7 News – Update on the 3rd Surge in the Bay Area,
                  February 22, 2021
              •   Interview – ABC 7 News – Cannabis Hyperemesis Syndrome, March 10th,
                  2021
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              •   Interview – The Dr. Oz Show – FOX (KTVU) – Is the Worst Behind Us?
                  Coming off the 3rd Surge of the Coronavirus Pandemic. March 10th, 2021
              •   Interview – ABC 7 News – Update on the vaccine distribution – Entering
                  Phase 1C. March 14th, 2021
              •   Interview – ABC7 News – Use of Beta-Blockers for performance
                  enhancement. April 5th, 2021
              •   Interview – ABC7 News – Complications of the Johnson and Johnson
                  vaccine. April 23rd, 2021
              •   Interview – SFGATE – ‘Fentanyl has changed the whole landscape’: San
                  Francisco faces worst drug epidemic ever. June 15th, 2021
                       o https://www.sfgate.com/bayarea/article/fentanyl-San-Francisco-
                          overdose-drug-epidemic-16237333.php
              •   Interview – KGO-TV ABC7 News – The delta variant of COVID-19. July
                  9th, 2021
              •   Interview – ABC7 News – Breakthrough COVID-19 infections. July 10th,
                  2021
              •   Interview – KTVU Fox 2 – The fentanyl epidemic. July 14th, 2021
                       o https://www.facebook.com/100057784162664/posts/24343396
                          4259407/
              •   Interview – KGO-TV ABC7 – Live – Breakthrough cases and pandemic
                  update. July 12th, 2021
                       o https://www.facebook.com/abc7news/videos/194262392659562/
              •   Interview – Neurology Consult Delays Can Become an Issue in Claims.
                  ED Legal Letter July, 2021; Vol. 32, Issue 7: pp. 80-82.
              •   Interview – Good Morning America (national broadcast) KGO-TV ABC7
                  News – Pandemic of the unvaccinated. July 20th, 2021
              •   Interview – KGO-TV ABC7 News – The Fourth Surge. July 28th, 2021
              •   Interview – KGO-TV ABC7 SF Live – Vaccine update. August 2, 2021
                       o https://www.facebook.com/abc7news/videos/347754970393905/
              •   Interview – KGO-TV ABC7 News – Supplemental vaccines. August 2,
                  2021
              •   Interview – NPR – Press Play with Madeleine Brand – Why some people
                  may need a booster shot, especially if they got Johnson and Johnson’s
                  single dose. August 10th, 2021
                       o https://www.kcrw.com/news/shows/press-play-with-madeleine-
                          brand/coronavirus-kids-tech-tv-film-sfv/vaccine-covid-booster
              •   Interview – Associated Press – Quake survivors face elevated risk of
                  amputations and other injuries. Published in the San Francisco Chronicle,
                  August 29th, 2021
              •   Interview – KTVU Fox 2 – Opioid overdoses and the continuing
                  epidemic. September 30th, 2021
              •   Interview – KGO-TV ABC7 News – Impact of vaccine mandates on the
                  Emergency Department. October 4th, 2021
              •   Interview – KCBS Radio – The impact of gun violence on our
                  communities. November 7th, 2021
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              •   Interview – Police Transport More Patients with Mental Health Needs to
                  ED. Published in ED Management, Vol. 33, No. 11; p. 143-5. November,
                  2021
              •   Interview – KGO-TV ABC7 News – Travel over the holidays in the
                  current state of the pandemic. December 17th, 2021
              •   Interview – KGO-TV ABC7 News – Impact on the ED of the Omicron
                  surge. January 3rd, 2022
              •   Interview – KGO-TV ABC7 News – Staffing and resource shortages
                  during the pandemic. January 4th, 2022.
              •   Interview – KGO-TV ABC7News – Update on the pandemic. January
                  23rd, 2022
              •   Interview – KGO-TV ABC7 News – Staffing shortage impacts during the
                  current pandemic surge. January 31st, 2022
              •   Interview – ABC News – Impact of the pandemic on the opioid epidemic.
                  March 12th, 2022
              •   Interview – KRON4 News – The dangers of fentanyl overdoses. April 2nd,
                  2022
              •   Interview – KGO-TV ABC7 News – Current state of the pandemic. April
                  27th, 2022
              •   Interview – When ED Providers Overlook Information Conveyed by
                  EMS. Published in ED Management June, 2022: Vol. 34, No. 6, pgs. 92-
                  93
              •   Interview – KGO-TV ABC7 News – Update on the current COVID surge.
                  May 27th, 2022
              •   Interview – MedPage Today – Emergency docs on injuries from assault
                  weapons. May 31st, 2022
              •   Interview – Washington Post – Trauma physicians have become
                  depressingly prepared for mass shootings. July 1, 2022
              •   Interview – Denver7 ABC News – The Denver Channel – Droperidol for
                  acute agitation in the ambulance. August 11th, 2022
              •   Interview – San Jose Mercury News – Impact of the heat on the
                  emergency department. September 6th, 2022
              •   Interview – KQED radio – Voter outreach to patients experiencing
                  homelessness from the ED. October 19th, 2022
              •   Interview – KGO-TV ABC7 News – Respiratory season update.
                  November 29th, 2022
              •   Interview – San Francisco Chronicle – Impact of the cold weather on
                  patients in the Emergency Department. November 30th, 2022
                      o https://www.sfchronicle.com/sf/article/Cold-cement-can-mess-up-your-
                         bones-17625052.php
              •   Interview – Medscape – Impact of gun reform efforts on the Emergency
                  Department. December 16th, 2022
              •   Interview – Associated Press – How long can people survive in the rubble
                  of an earthquake. February 8th, 2023
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               •   Interview – Wall Street Journal – Earthquake recovery and exposure-
                   related risks and injuries. February 8th, 2023
               •   Interview – Washington Post – Rescue efforts in the aftermath of the
                   earthquakes in Turkey and Syria. February 12th, 2023
               •   Interview – BBC World News – Survival after an earthquake. February
                   14th, 2023
               •   Interview – Arabi 21 – How long can a person survive under the rubble of
                   an earthquake? February 16th, 2023
               •   Interview – TRT World Global News Channel – Recovery efforts in
                   Turkey and Syria after the earthquake – Surviving under rubble. February
                   20th, 2023
               •   Interview – Fox 2 News – Safety of hospital workers with recent
                   carjacking. February 20th, 2023.
               •   Interview – Medpage Today – Uptick in Gun Deaths ‘At the Scene’ Point
                   to Increased Injury Lethality. April 5th, 2023
               •   Interview – Medpage Today – Gun Deaths Among Kids Have Surged:
                   Report. April 11th, 2023
               •   Interview – CBS Saturday Morning – Why cities nationwide are suing
                   opioid makers. April 15th, 2023


     Additional Activities

                   •   Citizen CPR training
                       • August 14th, 2021
                       • September 4th, 2021
                       • April 9th, 2022
                   •   President, Sigma Phi Epsilon fraternity, Ann Arbor, MI 1987-1988
                       Active Member: 1984-1988
                   •   Varsity Tennis, University of Michigan, Ann Arbor, MI 1984-1988
                       Big Ten Team Champions: 1985, 1986, 1988. NCAA Team
                       Semifinals: 1988
                   •   Psi Chi Honor Society 1987-1988
                   •   Captain, Varsity Tennis Team, La Jolla High School, La Jolla, CA
                   •   Michigan Alumnae Scholarship recipient, San Diego Chapter 1984-
                       1985

     Languages     Fluent in Spanish
